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Introduction

I, Brian H. Reise, was engaged by counsel at Williams & Connolly LLP to serve as an expert
witness for Cardinal Health, Inc. (Cardinal) in cases brought by Cuyahoga County and Summit
County, Ohio and consolidated in In re: National Prescription Opiate Litigation, MDL No.
2804. My opinions are stated below. I reserve the right to supplement or amend this report after
review of additional materials or information as they become available to me.

I am being compensated for my time spent working on this matter based on my hours actually
expended at the rate of $350 per hour. I have not offered expert testimony at a deposition or trial
at any point in the past four years.

I.      Summary of Opinions1

It is my opinion, based on my experience, training, and the facts and information discussed
herein, that at all relevant times:

        1) Cardinal maintained effective controls against diversion;

        2) Cardinal maintained and implemented appropriate systems to monitor and report
           Suspicious Orders consistent with the requirements of 21 CFR 1301.74(b), articulated
           standards, policies, and regulations of the Drug Enforcement Administration (DEA),
           and prevailing industry standards;

        3) Cardinal acted reasonably and, at times, in reliance upon DEA approval in the design
           and operation of its Suspicious Order Monitoring (SOM) systems; and

        4) Criticisms of those systems made by Plaintiffs’ witnesses Rafalski and Whitelaw are
           unfounded, contradicted by evidence, and inconsistent with applicable standards,
           policies, and regulations promulgated by the DEA.

II.     Summary of Qualifications

        A.      Experience at DEA

I have almost 32 years of federal service with the Department of Justice. For over 26 years, I
was employed with the Drug Enforcement Administration as a Diversion Investigator, and was
in a supervisory capacity for more than 17 of those years. Before the DEA service, I was
employed for over five years with the Federal Bureau of Prisons as a Senior Correctional Officer.

During my DEA service, I conducted complex investigations and established training objectives
for the Diversion Control Program and assisted in formulating DEA policy matters. I carried out


1
  A more complete statement of my opinions is contained in the rest of this Report. My opinions are not
limited by this summary.



                                                   2
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the integrity of the program and was instrumental in detecting and preventing the diversion of
controlled substances (domestic and foreign).

October 1987 to February 1997 – Drug Enforcement Administration, Diversion
Investigator, Greensboro Resident Office, Greensboro, North Carolina

After graduating from the DEA Training Academy in 1987 as a Diversion Investigator, I
conducted over 100 investigations. Many of these investigations resulted in arrests and thousands
of dollars in fines and forfeitures from doctors, pharmacies and others that diverted
pharmaceutical controlled substances. Many other cases resulted in administrative actions such
as restricted or surrendered DEA registrations.

February 1997 to September 1998 – Drug Enforcement Administration, Diversion Group
Supervisor, Greensboro Resident Office, Greensboro, North Carolina

As the Group Supervisor, I supervised the DEA Diversion Group consisting of four Diversion
Investigators, and one Group Assistant. While maintaining my current case load, I also planned,
coordinated and provided oversight on the group’s investigations. I monitored the investigators’
progress and activities and assumed prime responsibility for the integrity of the group, and
managed overall aspects of the investigations. I ensured that all investigations were conducted
within the scope of federal drug laws and were in accordance with the agency’s rules, policies
and regulations. I also provided oversight on scheduled (cyclic) investigations conducted on
DEA registrants that manufacture, distribute, import, and export controlled substances.

September 1998 to September 2000 – Drug Enforcement Administration, International
Drug Unit, Office of Diversion Control, DEA Headquarters, Arlington, Virginia

As a Staff Coordinator, I coordinated and monitored diversion program activities as they related
to international matters. This involved working closely with the DEA field offices and other
governmental entities (domestic and foreign) to implement and enforce the Controlled
Substances Act (CSA), the Single Convention on Narcotic Drugs (1961), the Convention on
Psychotropic Substances (1971), the Convention Against Illicit Trafficking in Narcotic Drugs
and Psychotropic Substances (1988), and appropriate regulations contained within the Code of
Federal Regulations as they related to import and export matters. I also assisted in formulating
DEA policy relating to these topics.

September 2000 to December 2001 – Drug Enforcement Administration, Course
Developer/Instructor, Academic Training Unit, Office of Training, DEA Training
Academy, Quantico, Virginia

In 2000, I was temporarily reassigned to the DEA Training Academy and assumed the duties of
Course Developer/Instructor for a Diversion Basic Training Class. Within the Academic
Training Unit, as Course Developer/ Instructor, I was responsible for developing, implementing
and evaluating the training of diversion personnel. While in this position, I updated the Basic
Diversion Investigator Training Program, which had not been extensively updated since the late
1980s. I was also responsible for proposing and seeking approval for the development of the



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Diversion Training Unit. After the unit was approved, I drafted a mission statement for the unit
and the position descriptions for the Unit Chief, Course Developer/ Instructor and support
personnel positions.

December 2001 to June 2004 – Drug Enforcement Administration, Unit Chief, Diversion
Training Unit, Office of Training, DEA Training Academy, Quantico, Virginia

In 2001, I assumed the duties of Unit Chief of the Diversion Training Unit. In that role, I was
responsible for directing entry-level, in-service, and specialized training of DEA Diversion
Investigators. The position required extensive knowledge of the job requirements of Diversion
Investigators and required resourcefulness and ingenuity in order to originate a training program
of sufficient scope and intensity to accomplish program goals. While there, I established training
objectives and curricula design of each specific program of training within the unit. This
included making detailed plans covering subject areas and methods of instruction which would
provide trainees with sufficient expertise to detect and prevent the diversion of illegally
manufactured controlled substances and chemicals into the illicit market. I was responsible for
providing expert instruction in the areas of diversion investigations to include pharmacology,
chemical and drug identification, pharmaceutical drug manufacturing and distribution practices,
retail pharmacy operations, auditing procedures, practitioner operations, narcotic treatment
programs, chemical manufacturing and distribution, interview and interrogation methods,
administrative, civil and criminal law procedures, report writing and DEA’s organization,
policies, and procedures, as well as many other disciplines which are pertinent to drug diversion.

According to the information provided in his report, Plaintiff’s witness James Rafalski arrived
for training as a Diversion Investigator in the fall of 2004, shortly after I completed my duties as
Unit Chief of the Diversion Training Unit. Assuming that is correct, he would have received his
training based on the curriculum and materials that I oversaw and helped establish.

June 2004 to January 2014 – Drug Enforcement Administration, Diversion Group
Supervisor, Greensboro Resident Office, Greensboro, North Carolina

In June 2004, I completed my assignment as Unit Chief of the Diversion Training Unit, and was
reassigned to the Greensboro field office as the Group Supervisor, for the second time. In that
role I supervised the DEA Diversion Group now consisting of 10 Diversion Investigators, one
Intelligence Analyst, two support staff and one student intern. I planned, coordinated, and
oversaw scheduled and complaint investigations. I monitored the investigators’ progress and
activities and assumed prime responsibility for the integrity of the group, and managed overall
aspects of the investigations. I also ensured that all investigations were conducted within the
scope of federal drug laws and in accordance with the agency’s rules, policies and regulations. I
was also responsible for giving lectures and presentations at training seminars for federal, state
and local officials and the DEA registrant community representatives. I monitored and provided
oversight on regulatory investigations conducted on DEA registrants that manufacture, distribute,
import, and export controlled substances. I also monitored and had oversight on investigations
that encompassed the trafficking of legitimate pharmaceutical drugs and listed chemicals to
illegal channels.




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In conducting complaint investigations, I would depend on a variety of informational sources.
Most information in the form of leads would come from “cold calls” into the office where
citizens or a cooperating individual provided information of alleged wrongdoing. Additional
leads could be referrals from other federal, state and local law enforcement or regulatory
agencies. In the earlier years of my career, I would also use the ARCOS quarterly reports as an
information source. The majority of complaint investigations initiated by myself were based on
information received from citizen complaints, cooperating individuals and referrals from other
agencies.

                                          *       *      *

Throughout my tenure as a DEA Diversion Investigator, I was assigned, on an annual basis,
scheduled (cyclic) investigations to be conducted on manufactures, distributors, importers,
exporters, narcotic treatment programs, and researchers located in North Carolina. In conducting
these scheduled investigations, I applied my knowledge, training, and various procedures
detailed in the DEA’s Diversion Investigators Manual. As a general matter, these investigations
included conducting an accountability audit on a select number of controlled substances,
inspecting all security containers, (i.e., vault, safe, cage, etc.), ensuring the firm’s compliance
with CFR regulations, and reviewing required records (such as DEA Form 222’s, controlled
substance invoices, theft or loss reports, drug destruction forms and ARCOS reports). In
addition, I would review the registrant’s policies and procedures as they pertained to the receipt,
distribution, and security of controlled substances as well as their standard operating procedures.

As the Group Supervisor of the Greensboro North Carolina Diversion Group, I was responsible
for reviewing the group’s scheduled (cyclic) investigations reports to ensure protocols, as it
pertains to scheduled investigations, were followed as detailed in the Diversion Investigators
Manual. Furthermore, as Group Supervisor I would review the accountability audit results, any
findings identified during the investigation and ensured that the report was complete and
accurate. Beginning in the late 2000s (approximately 2008-2010 time period), a required step in
the conduct of a cyclic investigation was to obtain documentation verifying that the registrant
(e.g., a wholesale distributor) continued to have a Suspicious Order Monitoring Program
designed to identify for further review and/or reporting orders of unusual size, frequency, or
pattern. As Group Supervisor, I annually reviewed dozens of cyclic investigation reports to
ensure that they had verified the registrants’ compliance with this, and all other required, actions.

       B.      Private-Sector Experience

On January 3, 2014, I retired from DEA and formed my own consulting business, Controlled
Pharmaceutical Consultants, Inc.

As a Pharmaceutical Compliance Consultant, I have continued applying my knowledge and
training accrued as a Diversion Investigator, Supervisor, and Chief of the Training Unit to assist
registrants with their compliance with the CSA and federal regulations. Among other things, I
have provided the following services to manufacturers, wholesale distributors and other
registrants:




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              Assist clients in ensuring compliance with DEA regulations and reporting
               requirements as requested.

              At the request of clients, conducts audits for controlled substance compliance in
               manufacturer, distributor, and pharmacy environments to assist in preventing
               diversion.

              Audits may include more in-depth reviews to assist organizations in the
               implementation and monitoring of the overall performance of their controlled
               substance compliance and security programs.

              If requested, to conduct reviews of an organization’s controlled substance
               compliance standard operating procedures, physical security requirements (i.e.,
               locks, keys, camera surveillance, and DEA storage areas (vaults, cages, and
               safes)), suspicious order monitoring procedures and downstream due diligence
               efforts, as well as reviews of dispensing activities in pharmacy environments as
               requested.

              If requested, assist organizations in interfacing with the DEA as required on
               issues relating to reporting requirements and other miscellaneous requests.

              If requested, assist clients in coordinating internal investigative and review efforts
               in assuring follow-up of actions requested by regulatory authorities.

              Assist clients, if called upon, in submitting reporting to regulatory bodies to help
               the client in resolving questions and concerns.

              Provide training on all topics relevant to the CSA and CFR as it pertains to
               pharmaceutical controlled substances.

       C.      Education

In May 1991, I received a Bachelor of Science degree, cum laude, in Fisheries and Wildlife from
North Carolina State University in Raleigh, North Carolina.

III.   Regulatory Overview

       A.      Federal Statutes and Regulations

The CSA, at 21 USC 823, details factors to be considered by the Attorney General through the
DEA in determining whether to allow registration of a distributor for the purpose of distributing
controlled substances:

       (b) Distributors of controlled substances in Schedule I or II

       The Attorney General shall register an applicant to distribute a controlled substance
       in Schedule I or II unless he determines that the issuance of such registration is



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       inconsistent with the public interest. In determining the public interest, the
       following factors shall be considered:

       (1) maintenance of effective control against diversion of particular controlled
       substances into other than legitimate medical, scientific, and industrial channels;

       (2) compliance with applicable State and local law;

       (3) prior conviction record of applicant under Federal or State laws relating to the
       manufacture, distribution, or dispensing of such substances;

       (4) past experience in the distribution of controlled substances; and

       (5) such other factors as may be relevant to and consistent with the public health
       and safety.

       (e) Distributors of controlled substances in schedule III, IV, or V

       The Attorney General shall register an applicant to distribute controlled substances
       in schedule III, IV, or V, unless he determines that the issuance of such registration
       is inconsistent with the public interest. In determining the public interest, the
       following factors shall be considered:

       (1) maintenance of effective controls against diversion of particular controlled
       substances into other than legitimate medical, scientific, and industrial channels;

       (2) compliance with applicable State and local law;

       (3) prior conviction record of applicant under Federal or State laws relating to the
       manufacture, distribution, or dispensing of such substances;

       (4) past experience in the distribution of controlled substances; and

       (5) such other factors as may be relevant to and consistent with the public health
       and safety.

The DEA has defined the “maintenance of effective controls” that it considers in its regulations
at 21 CFR 1301.71(a): “In order to determine whether a registrant has provided effective
controls against diversion, the Administrator shall use the security requirements set forth in Secs.
1301.72-1301.76 as standards for the physical security controls and operating procedures
necessary to prevent diversion.” The distribution chain consists of DEA registrants transferring
controlled substances from one registrant to another utilizing the required documentation.




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The corresponding CFR regulations, 21 CFR 1301.72 through 1301.74 detail the physical,
electronic, and regulatory security requirements for all non-practitioner registrants.2 Most of
these provisions contain highly-detailed instructions on registrants’ obligations, for example,
specifying the dimensions and building materials necessary for the construction of a secure vault,
21 CFR 1301.72(a). Included in these is Section 1301.74(b), which requires registrants to report
suspicious orders placed by their customers:

          The registrant shall design and operate a system to disclose to the registrant
          suspicious orders of controlled substances. The registrant shall inform the Field
          Division Office of the Administration in his area of suspicious orders when
          discovered by the registrant. Suspicious orders include orders of unusual size,
          orders deviating substantially from a normal pattern, and orders of unusual
          frequency.

In contrast with the other regulations cited above that have detailed implementing instructions,
the term “suspicious order” has only this one general definition to guide registrants and
Diversion Investigators.

Additionally, 21 CFR Part 1304 requires distributors to maintain inventories and certain other
records. The inventories and records covered “must be kept by the registrant and be available,
for at least 2 years from the date of such inventory or records, for inspection and copying by
authorized employees of the Administration.”3

The CSA regulations do not establish a requirement to conduct due diligence on customers or
orders. With respect to suspicious order monitoring, the CSA regulations state only that a
distributor “shall design and operate a system to disclose to the registrant suspicious orders of
controlled substances.” DEA witnesses in this litigation have acknowledged that the CSA
regulations, including 1301.74(b), do not mention due diligence.4 The DEA has not issued any
formal guidelines that describe how due diligence should be conducted.5

The CSA regulations also do not establish a requirement that due diligence files be maintained,
as Tom Prevoznik, testifying as DEA’s representative, testified.6 As explained above, the CSA
regulations set forth requirements that certain records be maintained for two years. Records
relating to customer due diligence are not included in either category, and the DEA has never




2
    21 CFR 1301.75 and 1301.76 apply only to practitioner registrants.
3
    21 CFR 1304.04(a).
4
    Kyle Wright Deposition Tr. 496:8-14; Tom Prevoznik Deposition Tr. 1213:18-1221:7.
5
    Tom Prevoznik Deposition Tr. 1213:18-1221:7.
6
    Id.



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issued guidance stating that registrants must maintain such records for any period of time or in
any particular manner.7

Similarly, there is also no requirement to maintain records relating to reports of suspicious
orders. Like records relating to due diligence, suspicious order reports are not included in the list
of records that are required to be maintained for two years. Tom Prevoznik, testifying as DEA’s
representative, similarly acknowledged in this litigation that there is not “any sort of
requirement, either by the DEA or by the registrant, to hold on to an actual suspicious order
being reported to the DEA” and that the DEA has never issued guidance indicating how long a
record of a suspicious order that’s been reported must be maintained.8

           B.      DEA Enforcement

Pursuant to guidance contained in the CSA, CFR, training, the Diversion Investigators Manual
(versions of which have been made public through FOIA requests), and DEA policies and
guidelines, a pre-registration investigation is conducted on all non-practitioner applicants. “The
pre-registration investigation is to ensure that the applicant is familiar with the responsibilities to
prevent the diversion of controlled substances and list I chemicals.”9 For distributor applicants,
this involves conducting the investigation onsite.10 This investigation involves, among other
things, verifying information on the application, obtaining background information on the
applicant’s corporate structure, their knowledge and experience in handling controlled
substances, the name, address, and identifying information of corporate officers and upper
management. Construction details of the applicant’s buildings are reviewed for perimeter
security. Physical and electronic security are identified and tested to confirm it is operational
and the signal to the alarm company is received in a timely manner. Security containers, such as
vaults, safes and/or cages are inspected to ensure construction and regulatory requirements are
met. Information is obtained on all personnel having access to controlled substances and
background checks are conducted. Diversion Investigators discuss with the applicant’s
management, their record keeping requirements for controlled substances. This includes DEA
Form 222 Schedule I or II Order Forms; controlled substance invoices; DEA Form-106, Theft or
Loss; DEA-41, Registrant Record of Controlled Substance Destroyed; ARCOS reporting; and
quota inventory (manufacturers). During the course of the pre-registration investigation, “the
applicant is to be made aware of … all provisions of the CSA and C.F.R.”11 A DEA witness in
this matter, Tom Prevoznik, testified that if the DEA determines during the pre-registration




7
    Id.; Kyle Wright Deposition Tr. 497:6-14.
8
    Tom Prevoznik Deposition Tr. 1213:18-1221:7.
9
    2012 Diversion Investigators Manual, CAH_MDL2804_01483146, at 272.
10
     Id.
11
     Id. at 277.



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process that the applicant’s suspicious order monitoring system is inadequate, the Diversion
Investigators conducting the investigation would inform the applicant of that fact.12

Once a non-practitioner applicant is approved and becomes a registrant, the next onsite visit from
DEA typically will be in the form of a scheduled investigation. The purpose of the scheduled
investigation is to ensure the information, policies, and procedures detailed in the pre-registration
investigation remain compliant with the CSA, CFR, and DEA guidance. Prior to the on-site
inspection, the investigator checks the appropriate databases and conducts a file check on the
registrant.13 The file check includes reviewing the registrant’s previous scheduled investigation
or if new, the registrant’s preregistration report. The investigator also checks the registrant’s
company file for any past discrepancies. Also prior to the inspection the ARCOS Unit at DEA
Headquarters is contacted to ensure that the registrant is properly filing its ARCOS reports and
that there are no significant outstanding error reports.14 The on-site inspection includes a review
of background information, which includes ascertainment of the registrant’s reporting procedures
for thefts and loss, and “the firm’s system for identifying suspicious/excessive orders.”15 The
on-site inspection also includes the conducting of an inventory for controlled substances being
audited, review of receiving and sales records, and review of general recordkeeping
requirements.16 As described in the Diversion Investigators Manual: “A review of the firm’s
monitoring system for detecting unusual sales should be performed in order to determine
whether it complies with regulations.”17 The physical and electronic security is inspected and
tested to make sure they are still operational. Other security measures are reviewed for changes
and to ensure they are in compliance with the law and regulations.18

12
     Tom Prevoznik Deposition Tr. 131:15-21.
13
     2012 Diversion Investigators Manual, CAH_MDL2804_01483146, at 299.
14
     Id.
15
  Id. at 300. In my experience, at least during part of my time as Diversion Group Supervisor, Diversion
Investigators would obtain a copy of the registrant’s Standard Operating Procedure for its suspicious
order monitoring program and make it an attachment to the schedule investigation report. Investigators
were also instructed to obtain a copy of the system and make it an attachment to their scheduled
investigation report.
16
  Id. at 300-302. In conducting the review of the primary controlled substance records, the investigators
have the option not to review all of the records within the audit timeframe. For distributors, a minimum
of one year of controlled substance records are to be reviewed and used to conduct the accountability
audit. Depending on the timing of the inspection the investigators may have to go back and use two
years’ worth of records. In lieu of using the primary records, the investigators are allowed to use a
secondary record, a computer-generated document, that when attested to its accuracy by the registrant, is
used to perform the audit. However, the investigators are required to select a random number of primary
records and cross verify them with the secondary records. If there are any discrepancies between the two
records the investigators are required to use the primary records.
17
     Id. at 302.
18
     Id. at 303-304.



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At the conclusion of the on-site investigation and at the direction of the Group Supervisor, the
lead investigator on the scheduled investigation discusses with the firm management all
discrepancies and/or violations identified during the scheduled investigation.19 Based on this
discussion, the firm’s management should be advised of possible actions DEA can take against
the firm for said discrepancies or violations. When possible, the investigator is to make
recommendations on what the company can do to get back into compliance.20

At the conclusion of the scheduled investigation, the investigator is to conduct a sales/purchase
transaction verification.21 This gives the investigator the opportunity to review and verify
order/sales of interest.

In my experience, following the approval of a non-practitioner registrant’s application, it was
routine for DEA to return within one year to conduct a first scheduled investigation. Non-
practitioner registrants continue to receive scheduled inspections at regular intervals. Since
2009, most non-practitioner registrants (including distributors) receive a scheduled investigation
every three years.22 These scheduled investigations “serve as a deterrent to diversion through the
continuous evaluation of registrants’ recordkeeping procedures, security, and overall adherence
to the CSA.”23 Also, if a scheduled investigation on a non-practitioner resulted in some form of
administrative, civil, or criminal action, in my experience, it was routine for that registrant to be
scheduled for a follow-up inspection within two years.

For a wholesale distributor registrant like Cardinal, each of its distribution centers is a separate
registrant. Therefore, each distribution center receives an individual preregistration investigation
before opening, an individual scheduled investigation within one year of the approval of its
registration, and an individual scheduled investigation every three years thereafter.

At the conclusion of a scheduled investigation, if the circumstances warrant it, DEA may pursue
criminal, civil, or administrative action against a distributor and/or its staff. Noncompliance with
the CFR is documented as a discrepancy and not a violation. Only noncompliance with the CSA
can constitute a violation. Discrepancies are generally dealt with through administrative actions.
Administrative actions taken against a registrant can come in different forms. They include a

19
  Id. at 304 (“It is important for the Investigators to discuss all of the violations noted (including copies
of violative documents) and to denote the appropriate section of the CFRs and/or the CSA which was
violated.”).
20
     Id.
21
     Id.
22
   Controlled Substances and List I Chemical Registration and Reregistration Fees, 76 Fed. Reg. 39,318,
39,324 (July 6, 2011). Before 2009, non-practitioner registrants were scheduled for investigation every
five years. Id. The change in frequency was designed “to help the registrant population better comply
with the CSA.” Id.
23
     Id. at 39,322.



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verbal reprimand, a Letter of Admonition, a Memorandum of Agreement, Administrative
Hearing, Request of an Order to Show Cause and an Immediate Suspension. Depending on the
severity of the discrepancies, an action could start with a verbal reprimand and progress to a
stronger action if the same discrepancies continue over time. However, if the discrepancies
warrant it, a more stringent action can be taken such as a Request of an Order to Show Cause or
an Immediate Suspension. Another administrative action available to investigators is the
voluntary surrender of part or all of a registrant’s DEA schedules in lieu of initiating a Public
Interest Revocation.

       C.      DEA Training and Guidance

I attended an eight week Basic Diversion Investigator (DI) training from October to December
1987. Among other books and publications, we were issued a new copy of the Diversion
Investigator Manual. I received legal instruction, instruction on drug identification, computer
database training, instruction on how to conduct an accountability audit, lectures on ARCOS,
DAWN, and quotas as well as other topics directly or indirectly related to the position of
Diversion Investigator. I also received lectures on security. As part of our training, for which
we were tested on, the instructors went over the CSA and CFR throughout the eight weeks.

After completing my training, I reported to the DEA Greensboro Resident Office. There I
became aware of reports submitted by registrants, generally known as “Excessive Purchase
Reports.” My supervisor at the time would routinely go through these reports and on occasion,
assign specific pages out of the report detailing the transactions involving a particular registrant
in North Carolina. In reviewing these documents, I became aware that certain registrants were
generating a report that contained purchases by their customers that exceeded a preset formula.

In general, and without disclosing the details of specific investigations, these Excessive Purchase
Reports were used in our investigations of individual registrants. Among other uses, they gave
us insight into ongoing orders from pharmacies that were the subjects of investigations. Also,
our office would occasionally receive reports from other DEA offices detailing excess purchases
made by a registrant in North Carolina. As a general practice, the supervisor would assign these
reports to the group, but again, a single report would not on its own cause an investigation to be
opened. However, when additional excessive purchase reports were received or other relevant
information on the registrant in question, the reports would become sources of information used
in the investigation.

Diversion Investigator Training 2001-2004

In September of 2000, I was given the opportunity to teach at the DEA Academy, in Quantico,
VA, and to take over the responsibilities of the Basic Diversion Investigator Training. In 2001,
with the assistance of 5-6 Senior Diversion Investigators from across the country, I updated the
Basic Diversion Investigator Training Program, which had not been extensively updated since
the late 1980s. This included all new audit problems and extensive report writing throughout the
training. Consistent with DEA’s position that it is up to registrants to design their own
Suspicious Order Monitoring (SOM) systems based upon knowledge of their customers, the
standard curriculum (CSA and CFR) we taught to trainees did not instruct that there was any



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single correct design for an SOM system. In other words, the standard training for Diversion
Investigators did not include a basis for judgments Rafalski purports to make in his report.

       D.      Regulation of Manufacturers, Pharmacies, Pharmacists and Prescribers

21 CFR 1301.71 states, “All applicants and registrants shall provide effective controls and
procedures to guard against theft and diversion of controlled substances.”

A manufacturer must apply for quotas, procurement or production, from DEA before they can
purchase and manufacture a Schedule I or II controlled substance. Manufacturers are required to
be registered with the FDA, DEA, and the appropriate state agencies. Besides transaction
records for controlled substances, a manufacturer is required to maintain records for all levels of
production. They are also required to enter specific controlled substance transaction into
ARCOS.

In contrast a distributor registered with DEA is not responsible for maintaining records of quotas
or production records. Furthermore, a distributor need not be registered with FDA.

Prescriptions for controlled substances must meet the requirements detailed in 21 CFR 1306.
More specifically, a controlled substance prescription must be issued by a practitioner acting in
the normal course of their professional practice. For example, a dentist should not be writing
prescriptions for a cough syrup with codeine. Additionally, the prescription must be issued for a
legitimate medical purpose.

It is the pharmacist’s responsibility to evaluate the controlled substance prescription for
compliance with the above criteria. 21 CFR 1306.04(a) states in part, “An order purporting to be
a prescription issued not in the usual course of professional treatment or in legitimate and
authorized research is not a prescription within the meaning and intent of section 309 of the Act
(21 U.S.C. 829) and the person knowingly filling such a purported prescription, as well as the
person issuing it, shall be subject to the penalties provided for violations of the provisions of law
relating to controlled substances.”

The board of pharmacy in each respective state is responsible for credentialing the pharmacy,
pharmacist in charge, and pharmacy technicians and conducting inspections on said pharmacies.
Some of these boards may be government agencies, quasi-government agencies, and others are
privately governed by their peers. It is also my understanding that some of these boards are
responsible for registering manufacturers and distributors.

Prescribers must meet their own requirements when issuing a prescription for a controlled
substance. The prescriber must be acting in the course of his or her professional practice and
there must be a legitimate medical purpose for issuing the prescription. Licensing and
investigations of prescribers are conducted by the professional boards, i.e. medical board, dental
board, etc., in the respective states. Some of these boards may be government agencies, quasi-
government agencies, and others are governed by their peers.




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IV.        Opinions

In my opinion, and for the reasons stated herein, Cardinal adopted reasonable and appropriate
systems for detecting and reporting suspicious orders in conformance with 21 CFR 1301.74(b)
and changing DEA expectations. In addition, those systems were properly implemented for the
registered distribution center from which Cardinal serviced customers in Cuyahoga and Summit
Counties.

           A.         Opinion: Cardinal Reasonably Complied with the Suspicious Order
                      Reporting Regulation During the Period it Submitted “Ingredient Limit
                      Reports,” Consistent with DEA Expectations, Industry Standards, and
                      Prevailing Practice

Based on my experience, training, and review of documents produced in the litigation, it is my
opinion that DEA approved, as consistent with 21 CFR 1301.74(b), the use of a system that
identified “excessive” orders after they had been shipped. As stated above, those reports were
commonly provided by registrants at the time I began my career as a Diversion Investigator. In
my opinion, it would be evident to any Diversion Investigator from the face of those reports that
they identified shipments of controlled substances, which had been identified for inclusion in the
report after they had been shipped. These reports were received at DEA field offices, including
the one at which I was assigned, and were used in various ways in support of investigations.

Documents produced in the litigation provide further support for that opinion. In the early
1980s, the National Wholesale Druggist Association (NWDA) began working with the DEA to
design a suspicious order monitoring system.24 That system had two components. The first
component was a process for monthly, after-the-fact reporting of excessive purchases. Each
distribution center would “review all purchase transactions involving DEA schedule
classifications II through V on a monthly basis.”25 Excessive purchases were identified based on
an algorithm that calculated “ingredient limits” based on average sales of certain categories of
customers multiplied by a factor to be provided by DEA.26 Once identified through this
algorithm, the transaction would be included in a monthly report that would be sent to the
respective DEA field office.27 The second component was a process for identifying and
reporting “single suspicious orders” that are identified prior to shipment.28

In 1984, the NWDA submitted the proposed system to DEA for approval. Thomas Gitchel, who
at that time was the Acting Chief of the Diversion Operations Section within the Office of

24
  “NWDA Suspicious Order Monitoring System” Memo and April 27, 1984 and May 16, 1984 Letters
from Thomas Gitchel, Acting Chief, Diversion Operations Section, CAH_MDL2804_01465723.
25
     Id. at 725.
26
     Id.at 726-727.
27
     Id. at 727-730.
28
     Id. at 730.



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Diversion Control, wrote a letter in which he described NWDA’s proposed system as providing
“an excellent framework for distributor registrants to ‘… design and operate a system to disclose
to the registrant suspicious orders of controlled substances.’ (21 CFR 1301.74(b).)”29 In a
follow-up letter, Gitchel stated that “[t]his system, as proposed, will meet the reporting
requirements of 21 CFR 1301.74(b).”30

In addition to NWDA’s proposed suspicious order monitoring system, DEA approved a number
of similarly designed systems in the 1980s and 1990s. In 1988, Ronald Buzzeo, the Deputy
Director of the Office of Diversion Control, wrote that Walgreen’s proposed system for detecting
and reporting excessive orders was “based on an average monthly sales figure multiplied by an
arbitrarily selected deviation factor, which is one of the key elements in devising an effective
reporting system.”31 Between 1996 and 1998, DEA oversaw the gradual implementation of
Bergen Brunswig’s newly designed suspicious order monitoring system that was based on
entirely on post-shipment reporting.32 In 1998, Patricia Good, the Chief of the Liaison and
Policy Section, approved Bergen Brunswig’s request to implement its newly developed system
on a nationwide basis.33

The fact that the DEA had approved suspicious order monitoring systems that were based in part
on after-the-fact reporting of excessive purchases was known by the Office of Diversion
Control.34 For example, in 1998, the Suspicious Order Task Force on the Comprehensive
Methamphetamine Control Act of 1996 issued a report to the U.S. Attorney General.35 One of
the purposes of this report was to develop criteria that wholesale distributors of List I chemicals
could use to identify suspicious orders. The Task Force recommended that List I chemical
distributors “use the DEA-approved Suspicious Order Monitoring System in use by wholesale
drug distributors for controlled substances.”36 The Task Force’s recommendation for reporting
excessive or suspicious orders of List I chemicals, as summarized in Exhibit II of its report,
outlined a methodology that was “basically what is done for Schedules II through V controlled
substances.”37 It consisted of five steps, the final of which stated: “At the end of each month a

29
     Id. at 732.
30
     Id. at 734.
31
  Letter from Ronald Buzzeo, Deputy Director, Office of Diversion Control, to Walgreen Company (Dec.
27, 1988), US-DEA-00025683.
32
  Letters Exchanged Between Bergen Brunswig Corporation and DEA, September 30, 1996 through July
23, 1998, ABDCMDL00315783.
33
     Id.
34
     Kyle Wright Deposition Tr. 72:4-75:9, 487:7-492:4.
35
     CAH_MDL_PRIORPROD_HOUSE_0002207.
36
     Id. at 230.
37
     Id.



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report will be transmitted to DEA … of all purchases of List I chemicals and or/C-II-V
controlled substances and List I containing OTC items by any customer whose purchase
quantities exceed the parameters (above) any (2) consecutive months or in three (3) of any
moving six (6) month period.”38 The Report also noted that “using a computer to manage and
report on high volume transaction business activities with extremely short order cycles times
(receipt to delivery) is the only viable, cost effective methodology for the reporting of orders
which may be considered excessive or suspicious.”39

Based on my review of Cardinal documents and deposition transcripts, Cardinal’s initial
suspicious order monitoring system was consistent with the DEA-approved NWDA system.
From the 1990s through at least 2007, Cardinal had two written policies and procedures that
explained the process by which Cardinal met its obligations pursuant to 21 CFR 1301.74(b).40
The first, called the DEA Compliance Manual, was created in 1995 and, at least since the version
from 2000 that I have reviewed, established a two-step system for reporting suspicious orders.41
It also included a section titled, “Test and Training Manual for Distribution Center Employees
Handling Controlled Substances,” and exhibits which were sample copies of the forms and
reports discussed in the Compliance Manual.42 There were several versions of the DEA
Compliance Manual, until 2006, when the policies in the Manual were restated in the Standard
Operating Procedures: Corporate Quality and Regulatory Compliance.43

Cardinal’s DEA Compliance Manual states that, “[w]holesalers are responsible for designing and
operating a system that will disclose to the wholesaler suspicious orders” and informing the
“DEA field office in that area of all suspicious orders.”44 It explains that “[s]uspicious orders
include orders of unusual size, orders deviating from a normal pattern and orders of unusual
frequency” and that “DEA has no specific form for” reporting suspicious orders.45 The
Compliance Manual states that “[w]holesalers should establish written criteria of what
constitutes a suspicious order” and that “DEA leaves it to the wholesaler to make this
determination.”46 The Compliance Manual states that DEA permits the wholesaler to use
38
     Id. at 247.
39
     Id.
40
  Steve Reardon Deposition Tr. 503:8-506:5; Cardinal Health DEA Compliance Manual,
CAH_MDL_PRIORPROD_DEA07_01383895; Standard Operating Procedures, Corporate Quality and
Regulatory Compliance, CAH_MDL_PRIORPROD_DEA07_01188323.
41
  CAH_MDL_PRIORPROD_DEA07_01383895, at 939-940; see also Steve Reardon Deposition Tr.
506:12-506:19.
42
     CAH_MDL_PRIORPROD_DEA07_01383895, at 013, 040-041, 080.
43
     Steve Reardon Deposition Tr. 506:3-506:5; CAH_MDL_PRIORPROD_DEA07_01188323.
44
     CAH_MDL_PRIORPROD_DEA07_01383895, at 939.
45
     Id.
46
     Id.



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“[e]ither a computerized or manual system . . . depending upon the wholesaler’s preference and
capability.”47

The Compliance Manual then explains Cardinal’s “two-step process” for complying with 21
CFR 1301.74(b).48 As step one, Cardinal submitted monthly ingredient limit reports to the local
DEA field office.49 Ingredient Limit Reports were Cardinal’s “excessive purchase reports.”
They were “based on a computer program which monitor[ed] customer controlled substance
purchases for a month and compare[d] these purchases to predetermined averages or limits.”50 If
any “customer’s purchase quantities exceed[ed] the established parameters, the customer’s
activity [was] printed on the report.”51

Cardinal has produced a sampling of Ingredient Limit Reports from 2005 to 2008.52 From these
reports and the SOPs, certain observations can be made. First, customers were classified each
month into the following groups: (a) hospitals/managed care, (b) retail customers, and (c) other.53
Then, for each of these categories, Cardinal calculated the total grams of each schedule II-V
controlled substance purchased in the last twelve months and divided that number by the number
of customer months (twelve).54 This yielded the monthly average grams purchased by customers
in each classification. These monthly averages were then multiplied by one factor for ARCOS-
reportable substances and a higher factor for non-ARCOS-reportable substances to generate the
maximum amounts of controlled substances that customers could order before their orders would
be included in the Ingredient Limit Report.

The factors used by Cardinal varied over time. For example, based on a sample of a report from
1995 that was included as Exhibit M to Cardinal’s DEA Compliance Manual, Cardinal used a

47
     Id.
48
     Id. at 940.
49
     Id.; Steve Reardon Deposition Tr. 506:21-23.
50
     CAH_MDL_PRIORPROD_DEA07_01383895, at 940.
51
     Id.
52
  August 2005 Wheeling Distribution Center Ingredient Limit Report (Sept. 4, 2005),
CAH_MDL_PRIORPROD_DEA07_01465435-R; October 2006 Phoenix Distribution Center Ingredient
Limit Report (Nov. 12, 2006), CAH_MDL_PRIORPROD_DEA07_02769065-R; April 2008 Hudson
Distribution Center Ingredient Limit Report (May 9, 2008), CAH_MDL2804_00690982.
53
  This approach followed the approach described in the DEA’s 1998 Suspicious Orders Task Force
report. Cardinal Health DEA Compliance Manual, CAH_MDL_PRIORPROD_DEA07_01383895, at
165.
54
   The approach followed the approach in the DEA-approved NWDA Suspicious Order Monitoring
System, “NWDA Suspicious Order Monitoring System” Memo and April 27, 1984 and May 16, 1984
Letters from Thomas Gitchel, Acting Chief, Diversion Operations Section, CAH_MDL2804_01465723,
at 726.



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factor of 2,55 but some of its reports from 2005 indicate a factor of 4 for ARCOS-reportable
substances.56 The factor used for each report was stated on the top left corner of each report,
which ensured DEA was aware of the factor being used at all times.57 The Ingredient Limit
Reports also showed the customer’s name, the customer’s address, and the customer’s DEA
registration number.58 Then, for each family of a controlled substance, the Report showed all of
the customer’s orders for that family, and for each order, the dates of the order, the order
number, the item number, the NDC number, the item description, the narcotic code, the quantity
ordered, the amount of active ingredient in grams, and the total amount in grams of the active
ingredient.59 The Report also stated the total grams the customer purchased for each family of a
controlled substance by adding up the total grams purchased for each order for that family.60
Immediately below that number, the Report listed the ingredient limit.61

Testimony supports that Cardinal provided this report to the DEA each month.62 Additionally,
when the DEA conducted cyclic inspections of distribution centers, the DEA reviewed the
reports as part of its inspection.63 The Cardinal representative responsible for oversight of this
system testified that DEA never communicated to Cardinal concerns related to the Ingredient
Limit Reports.64

Rafalski quotes a portion of the 1996 DEA Diversion Investigators Manual discussing suspicious
orders, and states, “If Cardinal Health designed its system in accordance with the DEA Diversion
Investigators Manual (1996), a copy of which it had in its possession since at least 2003, it would
have identified a serious problem in Cuyahoga County and Summit County.”65 Rafalski’s
statement is confused. Rafalski does not provide a citation for his claim that Cardinal had the
1996 Manual in its possession since 2003. An email from Cardinal’s Bob Giacalone states that

55
     Cardinal Health DEA Compliance Manual, CAH_MDL_PRIORPROD_DEA07_01383895, at 157.
56
 August 2005 Wheeling Distribution Center Ingredient Limit Report (Sept. 4, 2005),
CAH_MDL_PRIORPROD_DEA07_01465435-R, at 517-R.
57
 August 2005 Wheeling Distribution Center Ingredient Limit Report (Sept. 4, 2005),
CAH_MDL_PRIORPROD_DEA07_01465435-R; see also Cardinal Health DEA Compliance Manual,
CAH_MDL_PRIORPROD_DEA07_01383895, at 157.
58
     Id.
59
     Id.
60
     Id.
61
     Id.
62
     Steve Reardon Deposition Tr. 508:9-17.
63
     Id.
64
     Id. at 509:2-8.
65
     Rafalski Report 55.



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he received it “via a FOIA request in 2007.”66 To the extent Rafalski is suggesting that Cardinal
should have revised its policies based on the language he quotes from the 1996 Manual, I
disagree. The Manual is not a public document, so its contents would not have been known to
Cardinal before it was obtained via FOIA in 2007. As I discuss elsewhere in my report, Cardinal
undertook a revision of its SOM procedures that year in response to different statements by
DEA, and it would not have been reasonable for Cardinal to have instead relied on a Manual
from 1996. In addition, the last three sentences of the statement quoted by Rafalski is not one
that in my experience provides relevant guidance. That is confirmed by the fact that, when DEA
issued a new version of the Manual in 2012, the language quoted by Rafalski had been
dropped.67 Finally, to the extent Rafalski is suggesting Cardinal should have adopted a system
that would treat any order above “the average” for all orders as potentially “suspicious,” I
disagree for the reasons stated in Part IV.G of my report.

As described above, the generation and provision of Ingredient Limit Reports was step one of
Cardinal’s two-step system for complying with its obligations pursuant to 21 CFR 1301.74(b).
For step two, evidence shows that employees at distribution centers who were involved in filling
orders “police[d]” customer orders on a daily basis.68 These employees were the “cage and vault
personnel,” where “cage and vault” is a reference to the physical security measures employed by
Cardinal to secure controlled substances.69 These employees were required to identify any
orders that “appear[ed] excessive” based on the employees’ knowledge of and experience with
that customer or other customers’ buying.70 If the cage and vault personnel identified any orders
that appeared excessive, they were required to pull the order and hold it.71 The distribution
center would then contact the local DEA office.72 Guidance or specific instructions from the
DEA was noted on a “Regulatory Agency Contact Form.”73 Distribution centers maintained
copies of this form.74 There was no uniform requirement from DEA to maintain such records
66
 Email from Bob Giacalone (Jan. 18, 2012), CAH_MDL2804_02203346 (attaching undated letter from
DEA granting FOIA request, CAH_MDL2804_02203353).
67
     2012 Diversion Investigators Manual, CAH_MDL2804_01483146.
68
  Cardinal Health DEA Compliance Manual, CAH_MDL_PRIORPROD_DEA07_01383895, at 940;
Steve Reardon Deposition Tr. 512:3-9.
69
     CAH_MDL_PRIORPROD_DEA07_01383895, at 940, 942.
70
     Steve Reardon Deposition Tr. 512:3-9.
71
     Id.
72
     Id.
73
     CAH_MDL_PRIORPROD_DEA07_01383895, at 940.
74
  Id. Examples of these forms include CAH_MDL2804_02395109, at 110 (“Called to inform [DEA
Investigator] Chuck [Carpenter] of the high quantities of Hydrocodone that was being ordered by
Woody’s Pharmacy”) ; CAH_MDL2804_01345344, at 345 (“DEA gave permission for the following
Walgreens to have excessive purchase of oxycodone/APAP …”); CAH_MDL2804_02395115, at 119
(“Notify DEA of possible excessive purchase”).



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and my understanding is that these documents from the files of the Wheeling, West Virginia
distribution center from early time periods are no longer available.

To help cage and vault personnel monitor customer orders on a daily basis, Cardinal created a
“Dosage Limit Chart,” which was posted in each distribution center’s cage and vault.75 The
Chart listed products that were “commonly audited by DEA” during the agency’s inspections of
Cardinal’s distribution centers as well as those that “ha[d] a high potential for diversion.”76 To
create this Chart, Cardinal used dosage limits “set by calculating average sales quantities for
Knoxville’s retail customers and Boston’s hospital customer and multiplying by 3 for ARCOS
reportable items and 5 for non-ARCOS items.”77 The Chart provided information only; cage and
vault personnel were required to still use their knowledge and experience of a customer’s order
history as well as other customers’ order history to determine whether to pull and hold an order
and report it as suspicious to the DEA.78 Cardinal’s Eric Brantley testified that only “the best” of
Cardinal’s employees were “selected to work in the cage and vault area.”79

Cardinal’s Reardon testified that the dosage limit charts were not a bright line over which orders
were to be reported or held.80 In my opinion, the use of such a document as a general guide,
rather than as a hard limit, is consistent with the definition of “suspicious” orders in 21 CFR
1301.74(b).

Testimony from Reardon shows that there were additional, appropriate checks on controlled
substance orders. Each schedule II order was on a DEA Form 222.81 Once an order was
received, a Cardinal employee reviewed the form to ensure it was in compliance with the
regulation, and, signed and dated it if that was the case.82 The employee then entered the order
into Cardinal’s system.83 A picker at the distribution center would then look at the form and pull
the appropriate quantity, and then record on Cardinal’s copy of the DEA Form 222, the amount


75
  Cardinal Health DEA Compliance Manual, CAH_MDL_PRIORPROD_DEA07_01383895, at 940,
160-161.
76
     Id.
77
  Id. It is unclear from the face of the document at what point in time that average was calculated, though
the document contains a revision date placing it in 2000. In general, the “average” orders of various
pharmaceuticals could be expected to change over time.
78
     Steve Reardon Deposition Tr. 512:16-513:4.
79
     Eric Brantley Deposition Tr. 534:12-19.
80
     Steve Reardon Deposition Tr. 512:10-513:4; 495:6-10.
81
     Id. 513:14-514:13.
82
     Id.
83
     Id.



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shipped and the date of shipment.84 Before shipping, a separate quality control clerk then
conducted a final check.85 Cardinal kept one copy of DEA Form 222, the DEA got a second
copy, and the customer kept a third copy.86 By virtue of receiving the DEA Form 222’s, the
DEA had a record of every order for controlled substances filled by Cardinal.

For all of the above reasons, it is my opinion that the system used by Cardinal through 2007,
including the submission of Ingredient Limit Reports, was reasonable and consistent with the
parameters recommended and approved by DEA for satisfaction of 21 CFR 1301.74(b), as well
as prevailing industry standards of the time.

In my opinion, DEA’s acceptance of excessive purchase reports like Ingredient Limit Reports
should be understood in light of the various tools at its disposal. In my experience, DEA
investigations rarely start with reported suspicious orders. When DEA Diversion Investigators
are evaluating whether a pharmacy’s controlled substance orders indicate it may be engaged in
diversion, investigators are more likely to start with the pharmacy’s own records or ARCOS
data, which offer a more complete picture of the totality of the pharmacy’s ordering behavior.
While excessive purchase reports had a role in investigations, and could be the source of helpful
leads, they were just one of several tools available to support ongoing investigations.

           B.     Opinion: Cardinal Reasonably Understood the Guidance Provided by DEA
                  at its August 2005 Internet Distributor Initiative Meeting to Address Only
                  Internet Pharmacies

In the preceding section, I discuss Cardinal’s system for detecting and reporting suspicious
orders through the use of a DEA-accepted method of submitting excessive purchase reports and
excessive order reports to DEA. In this section, I address why Cardinal moved on from that
system and designed the next iteration of its suspicious order monitoring system, discussed in
Part IV.C below.

Evidence in the record shows that on August 22, 2005, DEA personnel and representatives from
Cardinal attended a meeting at DEA Headquarters.87 Cardinal’s representatives included Steve
Reardon, the company’s Vice President for Quality & Regulatory Affairs who oversaw
regulatory compliance, including compliance with anti-diversion regulations.88 The topic of the
meeting, including a PowerPoint presentation titled “Internet Pharmacy Data,” was regarding



84
     Id.
85
     Cardinal Health DEA Compliance Manual, CAH_MDL_PRIORPROD_DEA07_01383895, at 964.
86
     Steve Reardon Deposition Tr. 513:14-514:13.
87
  Memo from Michael Mapes to Joe Rannazzisi re Meeting with Cardinal Health, Inc. Concerning
Internet Pharmacies (Aug. 23, 2005), US-DEA-00000352.
88
 Steve Reardon Deposition Tr. 500:5-500:16; “Now and Then” Document (May 14, 2008),
CAH_MDL2804_02156859.



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issues involving internet pharmacies.89 DEA met with other wholesalers and gave them the same
presentation.90

At these presentations, the DEA asked wholesalers to monitor internet pharmacies, which were
“becoming a growing problem.”91 The DEA gave the attendees “a take-away binder, and
identified certain items that an Internet pharmacy may purchase.”92 The DEA also identified
factors to take into consideration in identifying internet pharmacies, including “Frequency of
Orders,” “Size of Orders,” “Range of Products Purchased,” “Payment Method,” “Pharmacy
Location,” “% Controlled vs. % Non-Controlled,” and “Customer pick up at distributor.”93 The
DEA also told attendees that internet pharmacies can seek accreditation through the National
Association of Boards of Pharmacy.94

Reardon testified that following this meeting, he started developing a process and program for
Cardinal to monitor internet pharmacy activity.95 He worked with Eric Brantley, a Cardinal
employee in the role of Director, Quality and Regulatory Affairs.96 Brantley’s role required him
to review Ingredient Limit Reports and “identify pharmacies that would need further
investigation.”97 He would conduct due diligence investigations, which included site visits, of
suspected internet pharmacies and make a recommendation whether to terminate and report
pharmacies to the DEA as suspected internet pharmacies.98 Cardinal conducted due diligence on
suspected internet pharmacy customers identified by the DEA, and both terminated customers
and reported them to the DEA based on the findings of that due diligence.99

89
  US-DEA-00000352; Materials Documenting Cardinal Health’s Response to Internet Pharmacy
Briefing, CAH_MDL2804_02102254.
90
     Steve Reardon Deposition Tr. 515:13-21.
91
     Steve Reardon Deposition Tr. 515:13-24.
92
     Id. at 515:22-24.
93
     US-DEA-00000352, at 354.
94
     Steve Reardon Deposition Tr. 516:8-11.
95
     Id. at 517:17-21.
96
     Id. at 518:1-6; CAH_MDL2804_02156859, at 859-860; Eric Brantley Deposition Tr. 520:9-14.
97
     Eric Brantley Deposition Tr. 135:9-16, 536:16-537:3.
98
     Steve Reardon Deposition Tr. 518:1-6; Eric Brantley Deposition Tr. 535:17-536:1, 537:16-537:3.
99
  Email from Eric Brantley (Jan. 9, 2006) CAH_MDL2804_01305528 (flagging possible internet
pharmacy identified while reviewing Ingredient Limit Reports); Email from Eric Brantley (Jan. 27, 2006)
CAH_MDL2804_02102795 (“Please do not ship product to this customer. The DEA has alerted us of
suspected internet activity by this customer. Prior to shipping any product to this customer I need to visit
the customer’s facility and conduct an investigation.”); Documentation of Due Diligence Conducted by
Eric Brantley on Several Pharmacies, CAH_MDL2804_00283431; Email from Eric Brantley
Recommending Discontinuation of Shipments to Customer (Sept. 29, 2006),


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Brantley also developed an “Internet Pharmacy Policy” for Cardinal in 2005, which laid out its
practices regarding customer approval, oversight, reporting, and investigations.100 Brantley
trained senior management and sales staff on internet pharmacies, and ensured all sales staff
received this training by July 2006.101 He created a presentation titled “Internet Pharmacy:
Approval and Oversight,” to use in the sales staff training.102

Additionally, distribution center employees were also instructed to monitor pharmacy customers’
orders.103 If pharmacies ordered over 3000 dosage units of phentermine or 5000 dosage units of
hydrocodone per month, those pharmacies were to be flagged for review.104 In a
contemporaneous email, Brantley stated that these threshold numbers came from the DEA.105

When Cardinal had questions on how to implement DEA’s internet pharmacy policy, it asked
DEA.106 For example, DEA had explained in its August 2005 presentation that “[p]rescriptions
can only be issued by a doctor acting in the usual course of professional practice.”107 On
December 22, 2005, Reardon emailed Michael Mapes at DEA to ask about “different scenarios
regarding the doctor patient relationship.”108 Mapes discussed the issue with DEA’s legal



CAH_MDL_PRIORPROD_DEA07_02067586; see also Letter from Eric Brantley to Jan Hamilton,
Diversion Investigator, Miami Field Division, DEA, and Kyle Wright (Apr. 27, 2007),
CAH_MDL2804_02102142, at 145 (identifying internet pharmacies shut down by Cardinal Health); Eric
Brantley Deposition Tr. 523:6-9.
100
  Internet Pharmacies: Customer Approval and Oversight Policy (Dec. 19, 2005),
CAH_MDL2804_02102254, at 259-263.
101
  Letter from Eric Brantley to Jan Hamilton, Diversion Investigator, Miami Field Division, DEA, and
Kyle Wright (Apr. 27, 2007), CAH_MDL2804_02102142, at 144.
102
  “Internet Pharmacy: Approval and Oversight” Presentation (Apr. 2006),
CAH_MDL_PRIORPROD_DEA07_01175050.
103
  Internet Pharmacies: Customer Approval and Oversight Policy (Dec. 19, 2005),
CAH_MDL2804_02102254, at 258.
104
  Email from Steve Reardon re Internet Pharmacies (Aug. 30, 2005),
CAH_MDL_PRIORPROD_DEA07_02088028.
105
      Email from Eric Brantley (Jan. 9, 2006), CAH_MDL_PRIORPROD_DEA07_02075690.
106
  Emails exchanged between Michael Mapes and Steve Reardon (Dec. 22, 2005 – Jan. 3, 2006),
CAH_MDL2804_02102241.
107
   Memo from Michael Mapes to Joe Rannazzisi re Meeting with Cardinal Health, Inc. Concerning
Internet Pharmacies (Aug. 23, 2005), US-DEA-00000352.
108
  Emails exchanged between Michael Mapes and Steve Reardon (Dec. 22, 2005 – Jan. 3, 2006),
CAH_MDL2804_02102241.



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counsel and responded that a legitimate doctor-patient relationship required face to face contact
and an examination of the patient by the prescribing doctor.109

During this time period, when Cardinal terminated customers, it informed the DEA.110 The DEA
would regularly compile a list of customers terminated by one or more distributors and share that
list with distributors.111 Cardinal circulated this list internally, and also terminated customers
based on their inclusion in this list.112 A DEA witness, June Howard, testified that DEA
subsequently stopped circulating this list to distributors out of concern that pharmacies would not
be able to acquire medications for which they and their patients had legitimate medical needs,
and that it could result in litigation.113

In mid-March 2007, DEA Diversion Investigators from field offices in Florida inspected
Cardinal’s distribution center in Lakeland, Florida.114 On the second day of the visit, the
investigators spoke to Brantley, who “answered specific questions pertaining to [Cardinal’s]
internet pharmacy procedures (investigations, etc.).”115 Another QRA employee noted that “it
was clear the visit pertained to internet pharmacy activity.”116

In late April 2007, Cardinal learned that another distributor, AmerisourceBergen, had received
an immediate suspension order at one of its distribution centers for activity related to “rogue
internet pharmacies.”117 Reardon and Brantley contacted Kyle Wright, a DEA Diversion


109
      Id.
110
  Email from Steve Reardon to Deborah.Y.Butcher@usdoj.gov (Jan. 9, 2006),
CAH_MDL2804_02102246; Email from Steve Reardon to Deborah.Y.Butcher@usdoj.gov (Jan. 27,
2006). CAH_MDL2804_02102247.
111
    Email from Kyle Wright (July 20, 2007), CAH_MDL_PRIORPROD_DEA07_02075115 (providing
list of customers that distributors had recently notified DEA they were discontinuing or restricting
business with).
112
      Id.; Eric Brantley Deposition Tr. 555:21-557:2.
113
      June Howard Deposition Tr. 47:2-48:8.
114
   Email from Elaine Trautman, Senior Consultant, Quality & Regulatory Affairs, Cardinal Health, to
Steve Reardon and others (Mar. 19, 2007), CAH_MDL2804_01319576.
115
      Id.
116
      Id.
117
   Email Forwarding Press Release: “AmerisourceBergen Receives DEA Order to Temporarily Halt
Distribution of Controlled Substances from Its Orlando, Florida Facility” (Apr. 25, 2007),
CAH_MDL2804_01320109; Press Release, “DEA Suspends Orlando Branch of Drug Company from
Distributing Controlled Substances” (Apr. 24, 2007), CAH_MDL_PRIORPROD_DEA07_02078411;
Steve Reardon Notes from Conversation with Kyle Wright (Apr. 26, 2007), CAH_MDL2804_02102228;
Steve Reardon Deposition Tr. 521:20-524:13.



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Investigator, two days later on April 26.118 Among other items, Reardon’s handwritten notes
from that call state:119

           “Think doing right thing”
           “right direction”
           “Eric establish great relationship”
           “ABC decision was not made by his office. very little input. made higher.”

Reardon summarized this call for other Cardinal executives the next day, stating that DEA’s
Kyle Wright “thinks we are doing the right things and heading in the right direction.”120

In my opinion, it would be reasonable for Cardinal to have understood such comments as
unofficial or implicit approval of its efforts at the time directed towards identifying internet
pharmacies. That is because, prior to this time (including in the examples reviewed above) DEA
historically worked with industry to help them satisfy their obligations under 21 CFR
1301.74(b), including by commenting on particular systems. Although that practice was
changing (as discussed further below) to one of cooperating less with registrants, Cardinal
reasonably would have understood Wright’s comments in light of the historical practice up until
that point.

On the same day as Reardon’s conversation with Wright, Brantley sent a letter to a Diversion
Investigator at the DEA’s Miami Field Office, which set out the steps Cardinal had taken to
address rogue internet pharmacies, including trainings for all sales staff and specific actions
taken against suspected internet pharmacies.121

In September 2006 and February 2007, DEA issued letters, virtually identical, to Cardinal and
other distributors.122 The letters describe, in more detail, the laws and regulations on the
responsibilities of a registrant to detect and prevent the diversion of controlled substances.
Designing and operating a suspicious order program and exercising due care in confirming the
legitimacy of all orders prior to filling was also discussed. Although the letters reiterated the
requirement to report the suspicious orders to DEA, the letters did not indicate that Cardinal
(distributors) needed to submit their reports any differently than what they were already doing.


118
  Steve Reardon Notes from Conversation with Kyle Wright (Apr. 26, 2007),
CAH_MDL2804_02102228; Steve Reardon Deposition Tr. 521:20-524:13.
119
  Steve Reardon Notes from Conversation with Kyle Wright (Apr. 26, 2007),
CAH_MDL2804_02102228.
120
  Email from Steve Reardon re Conversation with Kyle Wright (Apr. 27, 2007),
CAH_MDL2804_02102142.
121
      Id.
122
  CAH_MDL_PRIORPROD_DEA07__00837645 at 646;
CAH_MDL_PRIORPROD_DEA12_00002471 at 472.



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Indeed, the letters state that “DEA recognizes that the overwhelming majority of registered
distributors act lawfully and take appropriate measures to prevent diversion.”123

In my opinion, and in view of the events discussed above, Cardinal reasonably understood it to
be a continued expression of DEA’s approval of Cardinal’s existing SOM processes. Steve
Reardon commented that “based on meeting with the DEA, the reason for this letter is diversion
of controlled substances by internet pharmacies where there is not a valid doctor/patient
relationship.”124 Reardon went on to explain that Cardinal was already in compliance with
DEA’s internet pharmacy initiative based on prior interactions with DEA. Specifically, Reardon
stated, “Cardinal has an anti-diversion program, managed by Eric Brantley, which includes the
monitoring of internet pharmacy activity. Eric has a close working relations with DEA HQ and
they are very supportive of the program we have in place.”125 There are other parts of the letters
that are not specific to internet pharmacies. However, in view of the letters’ acknowledgement
that the “overwhelming majority of registered distributors act lawfully and take appropriate
measures to prevent diversion,” and recognizing that the system Cardinal used was consistent
with prevailing standards of the time, it would not have been reasonable to read these letters as
requesting significant changes to the design of such programs at that time.

            C.   Opinion: In 2007 and 2008, Cardinal Designed and Implemented an Anti-
                 Diversion System Consistent with DEA Expectations, Industry Standards,
                 and Prevailing Practice

In my opinion, the first true indication that broader changes were coming on how DEA would
ask registrants to report their suspicious orders was in September 2007. On September 7, 2007,
representatives from DEA and HDMA (Healthcare Distribution Management Association) met
to discuss suspicious orders. Pursuant to a summary of the meeting sent from HDMA to
Cardinal, three important points were documented:

            1.   “DEA’s policy was to expect more than just reporting ‘suspicious orders’. If
                 there was a suspicious order, the distributor should either stop the delivery or
                 should evaluate the customer further before delivering it.”

            2.   “DEA was clear that the ‘system’ mentioned above did not need to be the same
                 for each wholesaler distributor.”

            3.   “DEA also does not want to receive suspicious order reports that merely reflect
                 volumes that went over a threshold; they wanted reports that are “true’ suspicious



123
      Id.
124
      CAH_MDL_PRIORPROD_DEA07_00848351.
125
   CAH_MDL_PRIORPROD_DEA07_00848351; see also
CAH_MDL_PRIORPROD_DEA07_02093469; Cardinal Health’s Revised and Supplemental Response
to 30(b)(6) Notice 1, Topic (a).



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                    orders. Similarly, they do not want to receive what they called ‘excessive
                    purchase’ reports which had been used in the past.”126

One example of an SOM system that introduced to distributors during this time period was
AmerisourceBergen’s. In September 2007, the DEA asked AmerisourceBergen (ABDC) to
present its SOM system at an industry conference in Houston, Texas. DEA did not mandate that
all distributors adopt ABDC’s SOM system. At that conference, Chris Zimmerman of ABDC
presented to the attendees on ABDC’s new suspicious order monitoring program.127 ABDC’s
“Diversion Control Program” had four components: “Know Your Customer” Due Diligence;
Order Monitoring Program; Investigations; and Education & Training.128 Chain pharmacies were
exempted from ABDC’s due diligence investigations for new customers.129 Steve Reardon’s
handwritten notes on this slide indicate that either DEA said that or he inferred that DEA was
“ok” with ABDC’s decision to exempt chain pharmacies.130 His notes also indicated that sales
made the site visits. The ABDC presentation acknowledged that “[h]istorically Controlled
Substance / Listed Chemical order monitoring has been based on a ship and report process,” but
described ABDC new order monitoring program as being “based on identify, capture, investigate,
and report suspicious orders; all prior to shipment.”131 The presentation states that ABDC would
now base its thresholds on class of trade and customer size, and hold orders once a threshold was
hit. Steve Reardon testified that, after the presentation, DEA told the assembled industry
members that ABDC’s program “was going to be the new standard for the industry with respect
to how suspicious orders were monitored, reported, and handled.”132

On September 14, 2007, Steve Reardon emailed Cardinal employees regarding the HDA meeting
with DEA and the ABDC presentation.133 In the email, Reardon stated that “DEA is setting a new
standard with which we must comply.”134 Reardon testified that this new standard “was a change
in the way that -- moving away from the ingredient limit report and there was -- the biggest thing
that came out to me here was they were clear-cut that -- do not ship.”135 Reardon immediately
126
      CAH_MDL_PRIORPROD_DEA07_01198345, at 346-347.
127
      Id. at 345, 348-358.
128
      Id. at 350.
129
      Id. at 351.
130
   Steve Reardon’s Notes on AmerisourceBergen Presentation (Sept. 11, 2007),
CAH_MDL2804_02101840; Steve Reardon Deposition Tr. 528:11-529:4 (stating that this document
contains his handwritten notes).
131
      CAH_MDL_PRIORPROD_DEA07_01198345, at 352.
132
      Steve Reardon Deposition Tr. 528:19-24; see also Steve Reardon Deposition Tr. 529:15-23.
133
      CAH_MDL_PRIORPROD_DEA07_01198345.
134
      Id.
135
      Steve Reardon Deposition Tr. 529:15- 530:6.



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began a “proactive” plan to “implement a program that we develop, that will satisfy DEA
expectations and that is not dictated to us by the Agency pursuant to regulatory action.”136

DEA provided similar information in a letter to manufacturers and distributors on December 27,
2007.137 Unlike the previous two letters, this letter suggested that DEA expects distributors not to
ship suspicious orders:

            Registrants must conduct an independent analysis of suspicious orders prior to
            completing a sale to determine whether the controlled substances are likely to be
            diverted from legitimate channels. Reporting an order as suspicious will not
            absolve the registrant of responsibility if the registrant knew, or should have known,
            that the controlled substances were being diverted.138

The letter also stated that registrants who “routinely report suspicious orders, yet fill these orders
without first determining that order is not being diverted into other than legitimate medical,
scientific, and industrial channels, may be failing to maintain effective controls against
diversion.”139 Further, the letter withdrew prior implicit and explicit approvals of registrants’
systems, stating, “[p]ast communications with DEA, whether implicit or explicit, that could be
construed as approval of a particular system for reporting suspicious orders, should no longer be
taken to mean that DEA approves a particular system.

In my opinion, this letter conveyed new and different DEA expectations, which were also first
communicated to DEA Diversion Investigators at around the same time. As a general practice,
DEA field offices would receive copies of correspondence to registrants to use as a reference
when addressing inquiries from registrants.

In 2007 and 2008, Cardinal designed and implemented an SOM system consistent with the
changing DEA expectations, while continuing to remain in compliance with the requirements of
21 CFR 1301.74(b). In a declaration submitted in connection with the 2012 DEA enforcement
action, Cardinal’s Michael Moné stated that he changed Cardinal’s SOM program to comport
with the new guidance from DEA.140 “I have held the position of Vice President for Supply
Chain Integrity for Cardinal Health since December 2007. In this role, I modified Cardinal
Health’s anti-diversion program that existed in December 2007 to comport with the DEA’s
letters to distributors dated December 27, 2007, informing them that, in addition to detecting and
reporting suspicious orders in accordance with 21 C.F.R. § 1301.74(b), a distributor must not fill
‘suspicious orders’ unless the distributor determines that the controlled substances are not likely
to be diverted into illegitimate channels. Under my supervision and guidance, Cardinal Health

136
      Id.; CAH_MDL_PRIORPROD_DEA07_01198345.
137
      CAH_MDL_PRIORPROD_DEA12_00010980.
138
      Id. (emphasis added).
139
      Id.
140
      See Moné Declaration ¶ 3 (Feb. 6, 2012), CAH_MDL_PRIORPROD_DEA12_00014224.



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has continuously improved its anti-diversion program and adapted it to the ever-changing nature
of diversion.”141 Based on my review of Cardinal’s system during this time period, I agree with
Moné’s assessment.

Consistent with the system that AmerisourceBergen presented at DEA’s request, Cardinal’s
revised SOM system set monthly thresholds based on customer type and size, adjusted thresholds
over time in light of additional information and changing circumstances, held orders that
exceeded thresholds for further review, and released orders only after a determination was made
that orders were not suspicious.

In May 2008, Cardinal submitted to DEA a “now and then” chart that describes the changes that
Cardinal had made to its anti-diversion program since December 2007.142 The chart indicates
that Cardinal had expanded its SOM personnel and put into place an “[e]lectronic system to
identify, block, and report sales of controlled substances to retail independent customers based
upon a pre-determined monthly threshold for 102 controlled substance families.”143 The blocked
orders were “analyzed by professional anti-diversion staff members with pharmacy, prosecutor,
and/or law enforcement experience.”144 The chart states that “KYC [Know Your Customer] due
diligence, pharmacy site visits, and other investigative processes may be employed to determine
whether quantities ordered are legitimate.”145 The chart also describes the mandatory site visits
“to assess compliance.”146 Further, SOM pharmacist Chris Forst testified that, when he joined
QRA in February 2008, a system was in place in which “a list of customers that exceeded their
threshold values … was generated each night. Each customer was reviewed, looking at different
aspects of the customer, where they were located, relevant information like their ordering
patterns, et cetera, et cetera, and the orders were either released or cut or cut and reported as
suspicious, depending on the circumstance.”147 When Forst arrived, there were thresholds
assigned to all customers, including chain pharmacies.148 Forst also testified that, when he
arrived, “[t]here were policies and procedures in place, and there were rough drafts of new ways
that we were going to be doing things that were in place.”149 He also testified that there were

141
      Id.
142
   CAH_MDL2804_02156858 (attaching CAH_MDL2804_02156859); see also Outline of Key Actions
on Anti-Diversion (Jan. 11, 2007), CAH_MDL_PRIORPROD_DEA07_00968292 (contains more details
regarding the implementation of these changes).
143
      CAH_MDL2804_02156859, at 859-860.
144
      Id. at 861.
145
      Id. at 862.
146
      Id. at 863.
147
      Chris Forst Deposition Tr. 34:17-35:5.
148
      Id. at 38:4-22.
149
      Id. at 36:21-37:12.



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continuous changes occurring such that “the policy would change daily, weekly, monthly as we
focused on what we needed to be looking for.”150

Know Your Customer (“KYC”)

Evidence shows that in January 2008, Cardinal issued a standard operating procedure regarding
review of potential customers, and updated this procedure over time.151 Consistent with the
focus on retail independents in the ABDC presentation, the initial procedures required
completion of a “Know Your Customer” questionnaire for new retail independent customers,
which required information about the pharmacy’s business such as licensing, disciplinary
actions, and the pharmacy’s usage for certain products; required interior and exterior photos to
be taken of the pharmacy; and required all new retail independent customers to sign a DEA
compliance agreement.152 The anti-diversion group reviewed and analyzed potential customers,
including review of the questionnaires to verify the information provided by the customer, and to
look for common indicia of diversion.153 If there were any concerns, a pharmacist in the anti-
diversion group would review the data on the potential customer and decide whether to open the
account, refer the case for additional investigation, or decline the account.154

Moné’s Declaration further describes Cardinal’s processes for new chain customers. It would
obtain information regarding the chain as a corporate entity, including the chain’s number of
stores, anticipated usage, and internal anti-diversion procedures.155 If a chain sought to open a
new pharmacy, the corporate office would need to provide Cardinal with the new pharmacy’s
state license and DEA registration.156

As to Cardinal’s KYC system, Rafalski concluded that “Cardinal Health failures came not
necessarily in the design of its KYC system but in the operation of the system,” and that Cardinal

150
   Id. at 37:10-12. Rafalski’s statement about the absence of information on the evolution of Cardinal
Health’s SOM program during this timeframe is incorrect. Rafalski report 48. He quotes the early
testimony of Cardinal Health’s corporate representative to state that “Cardinal does not know what
changes it made within its SOM systems from September 2006 through at least late 2007,” but Cardinal
Health supplemented its explanation of that timeframe in written testimony from its corporate
representative, and these changes are also reflected in other testimony and documents discussed herein.
See Cardinal Health’s Revised and Supplemental Response to 30(b)(6) Notice 1, Topic (a).
151
  See 2008.01.04 - New Retail Independent Customer Survey Process SOP (Jan. 4, 2008),
CAH_MDL_PRIORPROD_DEA07_00891019; see also New Account Approval SOP (Dec. 22, 2008).
152
      Id.
153
  Id.; see also Moné Declaration ¶ 12; Nicholas Rausch Declaration ¶ 11 (Apr. 13, 2012),
CAH_MDL_PRIORPROD_DEA12_00000534; Doug Emma Deposition Tr. 51:2-51:15.
154
      Moné Declaration ¶ 12.
155
      Id. ¶ 13-14; Rausch Declaration ¶ 14-15; Doug Emma Deposition Tr. 51:2-51:15.
156
      Id.



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did not “maintain” sufficient due diligence files on each of its customers.157 I disagree. In my
opinion, Rafalski is inappropriately relying upon what he contends is the absence of
documentation, more than a decade later in some cases, of the due diligence Cardinal conducted
on its customers. But as discussed elsewhere in the Report, there is no regulatory requirement
that a registrant document due diligence of their customers at all, let alone to maintain that
documentation for a decade or more after-the-fact. Given the passage of time and the absence of
any requirement to document these actions in the first place, one cannot reliably reach the
conclusions Rafalski is drawing.

In addition, and contrary to Rafalski’s assertion, documents and testimony show that Cardinal
followed its procedures by holding orders that were identified by the thresholds set for its
customers, and released those orders (if at all) only after a decision that the order was not
suspicious. For example, I have reviewed a spreadsheet identifying a subset of those held orders
for Summit and Cuyahoga Counties.158 Although the same records are not available for all time
periods, testimony corroborates that this type of diligence occurred in the regular course of
business.159 I have also reviewed the Supplemental Report of John MacDonald, which presents
statistics on the number of orders held, and then subsequently cut or released in Summit and
Cuyahoga Counties from 2010-2018. Those figures show that Cardinal held 418 orders in
Summit and Cuyahoga Counties during the time period. 43% of the held orders were cut and not
shipped, and 57% were released for shipment.160 Those figures corroborate that Cardinal was
appropriately exercising judgment in accordance with its procedures.

Rafalski also concludes that Cardinal “relied on chain customers to conduct their own due
diligence and investigations,” citing to the Declaration of Michael Moné.161 Rafalski is taking
that statement out of context. Moné made clear in that same declaration that when a threshold
event involving a chain pharmacy store occurred, the customer’s account manager would contact
the chain’s corporate office to request information regarding the order at issue, and then provide
that information to the anti-diversion group for review.162 That contradicts Rafalski’s
assumption that Cardinal did not conduct its own evaluation of these orders. In addition, in my
opinion there is nothing improper or unreasonable in Cardinal seeking information from chain
corporate offices, rather than from individual stores. In my experience, DEA Diversion
Investigators do the same per corporate guidelines when seeking information about a pharmacy
within a corporate chain, for example, when requesting prescription profiles on practitioners.

157
      Rafalski Report 66.
158
  See Spreadsheet Containing Held Orders in Cuyahoga and Summit Counties, November 22, 2010, to
April 16, 2018, CAH_MDL2804_00135242.
159
  Shirlene Justus Deposition Tr. 20:13-21:4, 39:11-40:3, 88:14-103:16; Chris Forst Deposition Tr.
131:7-11; Doug Emma Deposition Tr. 14:15-14:22.
160
      Supplemental MacDonald Report 1-2.
161
      Rafalski Report 66.
162
      Moné Declaration ¶ 19.



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Further, there are no regulatory provisions specifying correct or incorrect ways for registrants to
know their customers. At the September 2007 meeting with the industry, DEA provided
examples of what a wholesale distributor should do to know their customer and what to look
for.163 For example, they mentioned inspecting pharmacies. They also mentioned such actions
as “doing Google searches” to determine if the pharmacy’s name was affiliated with an internet
site and getting information from the state as to the nature and manner of prior legal actions
against a pharmacy. And they gave a checklist of “Internet Pharmacy Decision Questions”
meant as a guide. These are all consistent with the KYC system that Cardinal had in place
during this time period.

Electronic monitoring

In December 2008, Cardinal issued a series of additional SOPs regarding its SOM program,
which also were updated over time. The documents reflect that Cardinal worked closely with
compliance consultant Dendrite/Cegedim/Buzzeo to develop these SOPs and to enhance
Cardinal’s SOM program.164

One SOP details how thresholds were calculated: (1) extract and formulate list of customers that
have purchased monitored items and historical sales data for those items; (2) differentiate
customers through segmentation by size and/or specialty; (3) evaluate historical controlled
substance sales data per drug family, per month, for each customer segment to establish
appropriate threshold limits, using multipliers of 3, 5, or 8; (4) incorporate Know Your Customer
information about the pharmacies to establish final threshold limits, and (5) adjust for standard
package sizes, and finalize threshold limits.165 Thresholds for new chain stores were based on a
threshold for the entire chain, and took into account the chain’s anti-diversion measures.166

There is no basis for Rafalski’s assertion that Cardinal’s approach to setting thresholds during
this time was “fatally flawed.”167 As discussed throughout this report, nothing in the CFR, in
DEA communications with registrants, or in the applicable portions of the Diversion
Investigators’ Manual used by DEA Diversion Investigators, establishes that there is any
“correct” or “incorrect” design of a suspicious order monitoring system generally, or these sorts

163
      CAH_MDL_PRIORPROD_DEA07_01198345, at 346.
164
   CAH_MDL_PRIORPROD_DEA07_02739847 (proposed scope of work by Dendrite);
CAH_MDL_PRIORPROD_DEA07_00870163 (chart identifying various action items);
CAH_MDL2804_02576927 (describing Dendrite support on “many fronts (pharmacy onsite reviews),
[and] calls to [customers]”).
165
  Process to Establish SOM Threshold Limits SOP (Dec. 22, 2008),
CAH_MDL_PRIORPROD_AG_0005610, at 610-613.
166
  Moné Declaration ¶ 17; Rausch Supplemental Declaration ¶ 5 (Apr. 23, 2012),
CAH_MDL_PRIORPROD_DEA12_00007820.
167
      Rafalski Report 62.



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of thresholds specifically. As I have discussed, DEA did endorse the concept of using thresholds
in its approval of the ABDC system upon which Cardinal’s own system was in part based.
Nothing at all supports Rafalski’s position that any particular threshold within such a system can
be assessed as “fatally flawed” because it used, for example, one multiplier instead of another.
The objective of identifying orders that are “unusual” based on what a distributor knows about
the particular customers placing those orders, inherently requires the exercise of judgment in a
way that cannot be correct or incorrect in the manner Rafalski is suggesting. As discussed
above, at the time these systems were being developed, DEA told the industry that there is no
requirement that all distributors use identical systems.168 In a 2012 Memorandum of Agreement
with Cardinal, DEA stated that it “does not endorse or otherwise approve threshold
procedures[.]”169 In 2015, the then-head of DEA’s Diversion Control Division responded to
concerns raised by the Government Accountability Office (GAO) about DEA’s lack of guidance
on threshold setting, and stated: “DEA cannot direct how distributors conduct their businesses,
including the amount of controlled substances lawfully distributed or dispensed to customers,
i.e., pharmacies and practitioners.”170 As a result, Rafalski’s opinion that Cardinal set incorrect
thresholds has no objective basis.

In addition to the above material, nothing in the training I received as a DEA Diversion
Investigator, or in the curriculum that we used to instruct DEA Diversion Investigators during
the time that I was Unit Chief of the Training Division (immediately prior to when Rafalski
received his own training), supports Rafalski’s conclusions about thresholds. Instead, the
principles we taught would lead to the conclusion that thresholds which had been adopted in
good faith based upon a registrant’s knowledge of its customers, were fully compliant with its
obligations under the CFR. In my opinion, by second-guessing the levels at which individual
thresholds were set by a distributor, Rafalski is applying a type of analysis that Diversion
Investigators are not trained to conduct, and that they do not conduct in the ordinary course of
their investigations on behalf of DEA. In short, Cardinal’s threshold system and use of
multipliers are reasonably designed to comply with its regulatory obligations.

Another SOP provides details review of threshold events.171 As the SOP states, when there is a
threshold event, the order is held and the reviewing pharmacist must determine if the order is
“reasonable” based on relevant information.172 In review of a held order, if the order is deemed


168
      CAH_MDL_PRIORPROD_DEA07_01198345, at 346-347.
169
  Administrative Memorandum of Agreement Between DEA and Cardinal (May 2012),
CAH_MDL2804_02213664, at 666.
170
   U.S. Government Accountability Office, “More DEA Information about Registrants’ Controlled
Substances Roles Could Improve Their Understanding and Help Ensure Access” (June 2015) at 77 (May
29, 2015 Letter from Joe Rannazzisi to Linda Kohn).
171
  Threshold Event Review, Self Verification; Decision Making and Threshold Outcome Communication
SOP (Nov. 5, 2009), CAH_MDL_PRIORPROD_AG_0005229.
172
      Id.



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reasonable it is released, and if it is unreasonable it is cut.173 Forst was a pharmacist who began
at Cardinal in February 2008 and was responsible for “[d]etecting and reporting suspicious
orders and responding to threshold events.174 He affirmed that “no order is going to go out of
Cardinal that’s hit a threshold without somebody looking at it, reviewing it, and releasing it.”175

Testimony shows that in the review of a threshold event, a pharmacist would review information
from various sources, and use their professional experience to make a judgment.176 In 2010,
Cardinal created and implemented the Anti-Diversion Centralization (ADC) system, a central
repository that allowed the previously separate data to be stored and accessible on a single
platform during review of a threshold event.177 During a threshold event review, a pharmacist
would review both the information that Cardinal maintained on its customers, such as the
customer’s purchasing history, as well as information that a pharmacist could obtain, such as by
calling the pharmacy or searching online.178 For example, if an online search revealed the
presence of one large medical hospital in a relatively small area, that could increase the expected
patient population of a nearby pharmacy.179

Rafalski is incorrect when he states that “Cardinal Health’s productions demonstrate that it
regularly ignored the thresholds it had set for its customers.”180 He points to examples where
orders exceeded thresholds and were reviewed and released. This simply reflects that a
pharmacist reviewed the order and determined that it was reasonable, consistent with the
controlling SOP; it does not show that the pharmacist “ignored” the threshold. As Rafalski later
concedes, an above-threshold order would only be sent if “it was reviewed by a Cardinal Health
employee and a conscious decision was made to release the order that exceeded the
threshold.”181 In my opinion, that process is entirely reasonable and consistent with Cardinal’s
duties under the CFR.




173
      Id.
174
      Chris Forst Deposition Tr. 148:21-149:4.
175
  Id. at 131:7-131:11; Cardinal Health DEA Compliance Presentation, CAH_MDL2804_00618705, at
758-760.
176
  Shirlene Justus Deposition Tr. 20:13-21:4, 39:11-40:3, 88:14-103:16; Kimberly Howenstein
Deposition Tr. 57:17-58:17; Moné Declaration ¶¶ 19-20.
177
   Moné Declaration ¶ 30.Chris Forst Deposition Tr. 164:5-164:23; Doug Emma Deposition Tr. 23:4-
23:10.
178
      Chris Forst Deposition Tr. 173:17-174:2, 191:16-191:21; Doug Emma Deposition Tr. 125:9-125:13.
179
      Doug Emma Deposition Tr. 119:22-120:2, 124:21-124:24.
180
      Rafalski Report 62.
181
      Id. at 65.



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Rafalski also asserts without adequate basis that the practice of allowing customers to exceed
their thresholds is a “systemic” problem.182 Rafalski points to DEA enforcement actions
encompassing shipments to a limited number of pharmacies in Maryland and Florida during
discrete time periods to support that statement. But that does not evidence a “systemic” problem
at all, let alone one that has connections to Cuyahoga or Summit Counties. In my experience,
DEA enforcement actions would not focus upon a limited number of specific pharmacies in one
part of the country if there was evidence of non-compliance systemically throughout the country.
As discussed above, each distribution center used by Cardinal for the delivery of pharmaceuticals
is its own registrant, and each would be subject to inspections by the DEA field office in its area.
The only reasonable inference to be drawn from the fact that one field office pursued an
enforcement action based upon shipments from the distribution center in its jurisdiction, while
every other field office did not for the distribution centers in their jurisdictions, is that there is not
a “systemic” problem of non-conformance with the CFR.183

Further, as to the four pharmacies at issue in the 2012 DEA action, Cardinal Health had already
ceased distributing to both Caremed and Gulf Coast (on September 26, 2011 and October 5,
2011, respectively) prior to the issuance of DEA’s Administrative Inspection Warrant (“AIW”)
for Cardinal’s Lakeland, Florida distribution center on October 25, 2011.184 As to the other two
pharmacies at issue—two different CVS pharmacies in Florida—Rafalski focuses on CVS #219
and characterizes a slide deck sent to Gilberto Quintero as “‘talking points’ for the ‘abnormal’
buying pattern of CVS #219 in Sanford, Florida.”185 Quintero testified, however, that these
slides were prepared in order to meet with CVS to address concerns by Cardinal.186 Indeed, at
Cardinal’s request, CVS provided a written memo concerning the investigation that was
performed, and Cardinal continued conducting additional due diligence of its own.187 Rafalski
also fails to identify anything connecting these Florida pharmacies to Summit or Cuyahoga
Counties, and in my opinion they have no such connection.

182
      Id. at 62.
183
   I have also reviewed the settlement agreements entered into by Cardinal to resolve the proceedings
referenced by Rafalski. They also do not establish or support the existence of any “systemic” non-
conformance with the CFR.
184
   Moné Declaration ¶ 49; Faxes from Michael Moné to DEA Field Offices and Florida Board of
Pharmacy re Suspension of Controlled and Monitored Substances Sales to Caremed (Sept. 26, 2011),
CAH_MDL_PRIORPROD_DEA12_00001934; Faxes from Michael Moné to DEA Field Offices and
Florida Board of Pharmacy re Suspension of Controlled and Monitored Substances Sales to Gulf Coast
(Oct. 5, 2011), CAH_MDL_PRIORPROD_DEA12_00001940; Administrative Inspection Warrant for
Cardinal Health Distribution Center in Lakeland, Florida (Oct. 25, 2011),
CAH_MDL_PRIORPROD_DEA12_00001950.
185
   Rafalski Report 63 (citing CAH_MDL_PRIORPROD_DEA12_00003244, 00003250;
CAH_MDL2804_01103874, 01103875; CAH_MDL_PRIORPROD_DEA12_00014224 at 00014248
para 46).
186
      Gilberto Quintero Deposition Tr. 155:6-157:1, 165:2-167:20, 170:20-171:4.
187
      Id.



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Site visits and investigations

Another set of SOPs provide details on site visits and investigations of customers. One SOP
explains how an investigation of a customer can occur following a threshold event.188 In the
event of a site visit, the salesperson is notified and then QRA schedules a site visit within 5
working days, performs the visit, and collects relevant information.189

Another SOP details the procedures for on-site investigations, including how cases are assigned
to investigators, and details on the four key aspects of each investigation: (1) initial case
preparation, (2) background investigation, (3) site visit, and (4) preparation of reports.190 The
SOP outlines details and procedures for each of the four key steps, including specific directions
regarding how to conduct the site visit itself, and details regarding what should be in the report,
with references to a sample report.191

Morse, the Director of QRA Investigations during this timeframe, described the role of
investigators as follows:

           Our role was to gather information that was reviewed by others. We would be
           trying to gather information about the pharmacy, including the size. We’d want to
           take a look at the pharmacy’s location, what’s the availability of healthcare
           physicians, prescribers. We’d want to take a look at the pharmacy’s practices, the
           type of pharmacy; is it a specialty pharmacy, is it a clinic pharmacy, is it a
           community pharmacy with sundries and everything else. We’d want to take a look
           at, to the extent we can, who the patients are, and to the extent we can, where they
           come from.192

In addition to the investigations by QRA, evidence shows that salespeople were also tasked with
monitoring their customers in what could be classified as site visits but also as part of the
ongoing KYC process. In 2008, the sales force started receiving monthly “Highlight Reports”
that identified “Red Flag” or “Yellow Flag” customers based on certain percentage increases in
their controlled substance orders.193 The Highlight Report SOP required salespeople to visit red
flag customers within ten working days to look for signs of diversion and complete an online



188
      Sales – Investigation SOP (Dec. 22, 2008), CAH_MDL_PRIORPROD_AG_0029938.
189
      Id. at 940.
190
      On-Site Investigations SOP (Dec. 22, 2008), CAH_MDL_PRIORPROD_AG_0029468.
191
      Id. at 474-477.
192
      Steve Morse Deposition Tr. 98:23-99:14.
193
      Sales – Highlight Report SOP (Dec. 22, 2008), CAH_MDL_PRIORPROD_AG_0029955.



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Customer Visit form, and to contact yellow flag customers as soon as possible to understand the
reason for the increased ordering.194

A separate SOP issued in 2008 required salespeople to perform an “early dialogue” with
customers whose orders neared their threshold, and document the relevant facts and complete a
Customer Visit form.195 An additional SOP made clear that salespeople were expected to visit
their customers and look for signs of diversions at each visit—like those signals that
investigators looked out for during full site visits—and required the salespeople to complete an
online Customer Visit form and assess a risk level for the customer if two or more of those anti-
diversion alert signals were present.196 Ray Carney, a current Director for Retail Sales and
former Sales Manager from 2000 to 2010, confirmed the types of things that, “[i]n addition to the
work of the QRA anti-diversion team,” his sales team does to try to prevent diversion: “We act
as the eyes and ears of the company on the ground to report up any unusual or out of the ordinary
activity that we see or witness at a pharmacy location.”197

Rafalski acknowledges that during this timeframe, “there was clearly some due diligence being
conducted, some of which occurred in the way of on-site investigations,” but then
mischaracterizes the 2013 Special Demand Committee Report of Cardinal’s Board of Directors
as finding that “those investigations were not being reviewed properly.”198 The 2013 report does
not support Rafalski’s characterization. It explains that after initially reviewing all site visit
reports, Morse subsequently modified the procedure by no longer personally reviewing reports
for pharmacies identified as “low risk” while continuing to review all of those classified as
“medium” or “high” risk.199

Rafalski also criticizes Cardinal for its differing treatment of retail independent pharmacies and
chain pharmacies.200 As discussed previously, at a September 2007 industry conference, DEA
identified as the “new industry standard” an SOM system that was described publicly as having
exempted chain pharmacies from the “Know Your Customer” due diligence procedures.201
However, Cardinal procedures applied to both chain and independent retail pharmacies.
Cardinal did, however, reasonably take into account the anti-diversion policies and procedures



194
      Id. at 957.
195
      Sales – Early Dialogue SOP (Dec. 22, 2008), CAH_MDL_PRIORPROD_AG_0029952.
196
      Sales – Anti-Diversion Alert Signals SOP (Dec. 22, 2008), CAH_MDL_PRIORPROD_AG_0029945.
197
      Ray Carney Deposition Tr. 219:2-219:9.
198
      Rafalski Report 53.
199
      CAH_MDL_PRIORPROD_HOUSE_0003331, at 352.
200
      Rafalski Report 52-53, 54, 65-66.
201
      CAH_MDL_PRIORPROD_DEA07_01198345, at 351.



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that those chain pharmacies had implemented.202 With respect to CVS, Cardinal obtained
information from CVS’s loss prevention department, in addition to the information that Cardinal
itself had, with respect to concerns identified in CVS’s orders or stores.203 Moné states that he
discussed this practice with DEA officials Michael Arpaio and Barbara Boockholdt, asked them
whether DEA had any concerns, and that they did not identify any issues.204 In my opinion, that
treatment of chain pharmacies was reasonable and appropriate under prevailing industry
standards at the time.

                                             *       *      *

Evidence shows that, over time, Cardinal has attempted to modify and improve their due
diligence, in the form of the “Know Your Customer” program, setting of thresholds, monitoring
of threshold events, site investigations, and various other aspects of the company’s suspicious
order monitoring program.

As discussed above, evidence also shows that Cardinal provided extensive training on these
programs and its SOM program in general.205 Cardinal also provided its sales personnel (known
as Pharmacy Business Consultants, or PBCs) with training on the Know Your Customer
procedures and the electronic monitoring system, as well as training on various indicia of
diversion.206 In my opinion, these actions are consistent with a good faith attempt to implement
appropriate procedures to identify suspicious orders and maintain controls against diversion.

Evidence similarly shows that Cardinal conducted reasonable diligence on its customers
throughout the SOM process. As Forst testified:

            I can say with the system that we used, we did as much due diligence on our
            customers there that we could. And, again, some customers were large customers
            and required more medications than other customers, based on their proximity,
            based on the proximity of like hospitals around them, based on proximity of what
            type of physician practices were there. We sent out investigators to check out the
            ones that were like higher volumes to make sure that there was no signs of diversion
            going on, according to the list of what you're looking for signs of diversion. We
            went back several times to double check to make sure that if we missed something,
            that we would catch up on it. We asked for more information for those customers.
            Not that we didn’t ask for information across the board … but if it was something


202
      Moné Declaration ¶¶ 10, 19; Rausch Deposition Tr. 182:12-183:10.
203
      Moné Declaration ¶ 29.
204
      Id.
205
   Craig Morford Declaration ¶ 8 (Apr. 12, 2012), CAH_MDL_PRIORPROD_DEA12_00000560;
Gilberto Quintero Declaration ¶ 8 (Apr. 13, 2012), CAH_MDL_PRIORPROD_DEA12_00000518.
206
      Jon Giacomin Declaration ¶¶ 9-10, CAH_MDL_PRIORPROD_DEA12_00000553.



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          in an area that we focused on, we tried to do the best that we could do to evaluate
          each and every pharmacy that we served.207

In my opinion, Rafalski is incorrect when he states without support that “Cardinal Health
provided almost preferential treatment to its chain pharmacies/national accounts as compared to
their retail independent customers;” as he then acknowledges, “Cardinal Health’s policies did not
reflect this almost preferential treatment.”208 Cardinal did have different policies for its retail
independent pharmacies, but the evidence does not support the conclusion that their policies
were “preferential” or insufficient.

          D.      Opinion: Further Enhancements of Cardinal’s SOM from 2012 to Present
                  Were Consistent with DEA Expectations, Industry Standards, and Prevailing
                  Practice

In my opinion, Cardinal appropriately continued to make modifications to its SOM system over
time. These modifications evidence a good faith effort to meet DEA’s evolving expectations
concerning anti-diversion. Cardinal’s policies and procedures from this time period complied
with DEA’s regulations and expectations and industry standards.

In May 2012, DEA and Cardinal entered into Memorandum of Agreement. The 2012
Agreement identified specific terms and conditions Cardinal was to follow with regard to its
suspicious order monitoring system and “Know Your Customer” program. Unlike its previous
position of not approving or endorsing how a registrant implemented these programs, DEA and
Cardinal agreed Cardinal would follow a specific protocol as detailed in the Agreement.209

Evidence shows that Cardinal has continued to enhance its SOM system and, in my opinion,
these modified systems are reasonable and remain in compliance with Cardinal’s obligations
under the CFR. In July 2013, Cardinal issued an updated standard operating procedure regarding
review of potential customers, and continued to update this procedure over time.210 This new
account setup procedure emphasized the potential customer’s historical purchasing behavior.211
The Cardinal Pharmaceutical Distribution sales team and the QRA Account team are responsible
for various aspects of new customer document collection, vetting and onboarding.212 The QRA
Account Setup team verifies all appropriate documentation is in order, conducts a thorough
review of the proposed customer, and will only approve sales of controlled substance products if

207
      Chris Forst Deposition Tr. 258:18-259:16.
208
      Rafalski Report 52-53.
209
  Administrative Memorandum of Agreement Between DEA and Cardinal (May 2012),
CAH_MDL2804_02213664, at 665-668.
210
      New Account Approval SOP (July 18, 2013), CAH_MDL_PRIORPROD_AG_0029620.
211
      Know Your Customer Survey (June 2013), CAH_MDL2804_03063381.
212
      Id.; New Account Approval SOP (July 18, 2013), CAH_MDL_PRIORPROD_AG_0029620.



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                 information, as well as make adjustments to threshold limits and restrict
                 customers from purchasing controlled substances.”238

            2.   Distrack: Contains information related to customer thresholds and threshold
                 events.239

            3.   Tableau files: Software tool that allows user to view analytical data and
                 visualizations in interactive format, including purchase trend data.240

            4.   Content Navigator: Centralized document retention system for customer specific
                 documents.241

            5.   Know Your Customer (KYC) Questionnaires: Survey used to collect information
                 about Cardinal customers. The survey contains, among other items, questions
                 specific to the customer’s business model and controlled substance needs.242

            6.   Central Customer Database (CCDB): Cardinal system that stores customer
                 data.243

            7.   Central Customer Database (CCDB) DEA Compliance Tool: Application used to
                 restrict DEA numbers from purchasing controlled substance products.244

            8.   Site visits: Investigations can include on-site investigations, call surveys or
                 surveillance visits.245

            9.   Other appropriate investigative methods including data requests, phone
                 interviews, email interactions, and Internet searches.246

238
  Detecting and Reporting Suspicious Orders and Responding to Threshold Events SOP (Oct. 17, 2016),
CAH_MDL_PRIORPROD_AG_0004767.
239
  Todd Cameron Deposition Tr., 257:15-21; QRA Investigations SOP (Apr. 26, 2013),
CAH_MDL_PRIORPROD_AG_0029220.
240
      QRA Investigations SOP (Apr. 26, 2013), CAH_MDL_PRIORPROD_AG_0029220.
241
      QRA Investigations SOP (Aug. 30, 2016), CAH_MDL_PRIORPROD_AG_0004773.
242
      New Account Approval SOP (Nov. 17, 2014), CAH_MDL_PRIORPROD_AG_0029723.
243
      Id.
244
      Id.
245
  Large Volume – Tactical and Analytical Committee Periodic Review Process SOP (Aug. 30, 2016),
CAH_MDL_PRIORPROD_AG_0004806.
246
  On-Site Investigations SOP (Apr. 12, 2012), CAH_MDL_PRIORPROD_AG_0029127; Todd
Cameron Deposition Tr. 247:17-22.



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volume also ignores that Cardinal since 2012 has had in place the LV-TAC process, which
subjects high volume customers to additional review, and that process resulted in this store
undergoing that review as documented above.

                  3.        New Choice Pharmacy

The Rafalski report also discusses another Cardinal customer, New Choice Pharmacy.304 During
the period that Cardinal distributed to New Choice, it was a hospital-owned pharmacy located
within a hospital (Cuyahoga Falls General Hospital, which changed its name to Western Reserve
Hospital). For some period of time, the hospital “established a significant Pain Management
Clinic.”305

As with the other pharmacies discussed above, Rafalski improperly discounts the significance of
the due diligence materials located in the produced due diligence file for New Choice,306 and did
not consider further due diligence material.307 This results in an incomplete and inaccurate
picture of the due diligence that Cardinal conducted on New Choice. Michael Moné (a
registered pharmacist, who, at the time, was the head of Cardinal’s anti-diversion program)
personally performed a site visit of New Choice on March 4, 2008.308

304
      Rafalski Report 53.
305
  Memo from Michael Moné to File (Mar. 4, 2008), CAH_MDL2804_00834231, at 232; Letter from
Summa Health System and Cuyahoga Falls General Hospital executives to Eric Brantley, Corporate
Quality, Cardinal Health (Dec. 11, 2007), CAH_MDL_PRIORPROD_DEA07_01179513 (attaching
materials showing that New Choice was owned by a hospital); Email from Kim Howenstein to Todd
Cameron, et al. (Mar. 12, 2013), CAH_MDL2804_01695382 (stating that New Choice was “Owned by
Summa Western Reserve Hospital”).
306
  The produced due diligence file is CAH_MDL2804_00000605-CAH_MDL2804_00000634,
CAH_MDL2804_00001518-CAH_MDL2804_000015140.
307
    Letter from Summa Health System and Cuyahoga Falls General Hospital executives to Eric Brantley,
Corporate Quality, Cardinal Health (Dec. 11, 2007), CAH_MDL_PRIORPROD_DEA07_01179513
(attaching materials showing that New Choice was owned by a hospital); Email Chain re Order Limits on
Hospital-Owned Pharmacies (Dec. 13, 2007), CAH_MDL_PRIORPROD_DEA07_00885842; Email
from Halle Gay, Pharmacy Business Consultant, Cardinal Health, to Todd Cameron re On-Site Visit
Request (Jan. 1, 2008), CAH_MDL_PRIORPROD_DEA07_00886767; Email from Halle Gay to Eric
Brantley (Jan. 26, 2008), CAH_MDL_PRIORPROD_DEA07_02723885; Memo from Michael Moné to
File (Mar. 4, 2008), CAH_MDL2804_00834231, at 232; Email Chain re Cut Order (May 17-18, 2009),
CAH_M0L2804_00823568; Email Chain re New DEA Number (June 22, 2009),
CAH_MDL2804_01705161; QRA Survey (Jan. 24, 2013), CAH_MDL2804_03082842; Email from
Aimee Veliz, Manager, Regulatory Management, Cardinal Health, to LV-TAC Team (Feb. 18, 2013),
CAH_MDL2804_02486337 (attaching printed Tableau files, CAH_ MDL2804_02486340, and New
Choice memo, CAH_MDL2804_02486419); LV-TAC Memo (Feb. 19, 2013),
CAH_MDL2804_03267318; Email Chain re Pharmacy Ownership (Mar. 12, 2013),
CAH_MDL2804_01695382.
308
  Rafalski admitted at his deposition that he had not reviewed any materials related to Moné’s visit to
New Choice. James Rafalski Deposition Tr. 304:23-306:7.



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The memo demonstrates that Moné conducted a thorough site visit that was appropriately
designed to determine whether it was appropriate for Cardinal to continue shipping controlled
substances in the amounts that were ordinary for New Choice. Among other findings, Moné
documented that the pain management “program includes urines and other methodologies to
validate appropriate controlled substance use. There was no evidence of internet activity and
their security was substantial.”309 Based on the information reflected in the memo, Moné
reasonably determined that it was appropriate for Cardinal to continue shipping controlled
substances to New Choice.

Rafalski makes a number of statements about New Choice that are not supported by the due
diligence materials that he cites and that I have reviewed. Rafalski suggests that Cardinal
“fail[ed] to recognize risk factors that are apparent” before increasing New Choice’s threshold on
March 7, 2008. But the materials I have reviewed show that Cardinal was aware that New
Choice was ordering a large volume of opioids and took appropriate steps to determine that the
volume did not indicate that New Choice was engaged in diversion. Cardinal reviewed the
potential risk factors and reasonably determined that the actual risk posed by New Choice was
low. Additionally, the March 7, 2008 threshold increase for oxycodone came just three days
after Moné conducted a thorough site visit, which indicated that Cardinal had the appropriate
information to make the determination to increase the threshold.

Rafalski also says, “While New Choice was located in a medical complex, and for a time was
owned by a hospital group, it did not service the hospital and instead actually serviced a pain
clinic.”310 He does not provide a citation for this claim. Contrary to this assertion, Moné’s site
visit established that “[t]he pharmacy dispenses prescriptions written by the medical staff” of the
hospital, “most of whom are ASAM and Pain Management Certified.”311 In addition, while
Moné’s memo states that New Choice “is located within a hospital that has an established Pain
Management Clinic,” nothing in the record that I have seen suggests that the pharmacy did not
provide prescriptions to outpatients of the hospital generally.312 In my experience, proximity to a
hospital (or, as here, being on the grounds of the hospital complex) and proximity to medical
practices specializing in the treatment of pain, are relevant to understanding the volume of
controlled substances, including opioids, a pharmacy should reasonably be expected to dispense.
Thresholds that take into account the legitimate differences between those pharmacies and other
customers are reasonable and appropriate consistent with 21 CFR 1301.74(b) and DEA’s “Know
Your Customer” policy.



309
      Memo from Michael Moné to File (Mar. 4, 2008), CAH_MDL2804_00834231, at 232.
310
      Rafalski Report 53.
311
      CAH_MDL2804_00834231, at 232.
312
   Rafalski also says that there is “no real explanation” in the produced due diligence file for New Choice
changing its DEA number. But a produced email chain shows that at least one of the changes was due to
a change in ownership. CAH_MDL2804_01705161



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Rafalski states that “there appears to be no due diligence until January 2008.”313 January 2008
was more than 11 years ago. The fact that Cardinal does not currently possess materials
reflecting due diligence conducted more than 11 years ago does not show that Cardinal
conducted no due diligence of a customer before that time. As discussed elsewhere in this
report, there is no DEA requirement to maintain due diligence files at all, much less a
requirement to keep records dating back more than 11 years, especially when replaced with more
current information. In addition, Rafalski states that New Choice stopped being a Cardinal
customer in September 2015, which I understand is before this lawsuit was filed. Nonetheless,
even though Cardinal was not required to maintain due diligence records relating to New Choice,
the materials that I have reviewed demonstrate that Cardinal did in fact perform reasonable and
appropriate due diligence on New Choice.

As with the previously discussed pharmacies, Rafalski does not provide any facts indicating that
New Choice was engaged in diversion. He states that the store had high order volumes for
oxycodone, but the due diligence documents show that Cardinal appropriately assured itself that
New Choice was a legitimate pharmacy that was not engaged in diversion.314 Rafalski’s focus
on this pharmacy based upon its order volume also ignores that Cardinal since 2012 has had in
place the LV-TAC process, which subjects high volume customers to additional review, and that
process resulted in this store undergoing that review as documented above.

                  4.        Pharmed Pharmacy, Skilled Care Pharmacy, and PharMerica

Rafalski’s report identifies five instances in which Cardinal shipped opioids to three
pharmacies—Pharmed Pharmacy, Skilled Care Pharmacy, and PharMerica—that allegedly
exceeded their respective thresholds “despite there being inadequately documented due diligence
supporting the justification indicated for the release.”315 For two of these orders, Cardinal
documented its justification for release as being that the orders were “not unreasonable [in]
quantity, pattern, and/or frequency,”316 which is the exact standard set by 21 CFR 1301.74(b).
For the other three, the documented justification is “variation consistent with business model –
no indication of diversion,”317 which is the standard under 21 USC 823(a)(1), which the CFR
seeks to implement through 21 CFR 1301.74(b). On their face, all of these entries are consistent
with Cardinal personnel reviewing the orders and making the determination that they were not
suspicious prior to their release. There is no indication of a lack of due diligence, the notes




313
      Rafalski Report 53.
314
   See Kyle Wright Deposition Tr. 165:13:166:20 (agreeing that high distribution volume does not
necessarily indicate that illegal activity is occurring).
315
      Rafalski Report 64-65.
316
      Id.
317
      Id.



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explaining the decisions cited by Rafalski demonstrate that due diligence was conducted, even if
the underlying records are no longer available for review.318

In addition, Rafalski ignores other due diligence records for these customers, and neglects to
mention that these three pharmacies specialize in delivering medication prescribed in acute or
institutional care settings, like hospitals and long-term care facilities. Skilled Care Pharmacy is a
closed door pharmacy serving long term care facilities.319 PharMerica services skilled nursing
facilities and long term care facilities.320 Pharmed’s primary customer base was long term care
facilities and nursing homes, serving around 3,000 patients; it did not serve walk-in customers
off the street.321 Pharmacies that service acute or institutional care facilities have business
models that are different than retail pharmacies, and variation in ordering patterns may be more
readily understandable. Also, given the medical need of patients in these facilities, a shortage of
medication can have significant consequences for treatment. Cardinal’s decision to release these
five orders was reasonable, appropriate and consistent with Cardinal’s obligations under 21 CFR
1301.74(b).

I have also reviewed the data tables contained in MacDonald’s Supplemental Report relating to
these three pharmacies. That information shows that the pharmacies’ ratios of controlled
substances to non-controlled substances are quite low,                                   .322 In
318
      Id.
319
   In 2013, Cardinal Health conducted a QRA Site Visit of Skilled Care Pharmacy in which the
PIC/Pharmacy Manager and Director of Pharmacy Operations participated. Cardinal Health investigator
Harvey Florian viewed the dispensing data, which showed that
               He confirmed that Skilled Care “is a closed door pharmacy” and the PIC and Director
“responded to questions associated with a closed door pharmacy operation that demonstrated that they
understand and employ their corresponding responsibility and due diligence.”
CAH_MDL2804_00001699. This appears consistent with Skilled Care Pharmacy’s description of its
business model on its website. Skilled Care Pharmacy, Medication Dispensing,
https://www.skilledcare.com/medication-dispensing/ (“Skilled Care Pharmacy is an institutional
pharmacy that specializes in servicing long-term care facilities … including long-term care facilities for
the elderly, assisted living sites, residential care, developmental disability services, schools and hospice
facilities.”). Cardinal Health also conducted a site visit of Skilled Care Pharmacy in May 2017. Email
from Timothy Dunham Requesting Data (May 8, 2017), CAH_MDL2804_00093746;
CAH_MDL2804_01624303.
320
   Due Diligence Materials, CAH_MDL2804_00001561; PharMerica, Who We Are,
https://pharmerica.com/who-we-are/ (stating that PharMerica is redefining pharmacy services “skilled
nursing facilities (SNF), long term care facilities (LTC), hospitals and other institutional care settings”).
321
   CAH_MDL2804_00000150; CAH_MDL2804_00000153. Cardinal Health conducted thorough site
visits of the facility that housed Pharmed’s LTC pharmacy operation and its wholesaler business in
October 2010 and October 2011. Wholesaler Safe Product Practices Assessment (Oct. 21, 2010),
CAH_MDL2804_01001972; Wholesaler Assessment Checklist (Oct. 21, 2010),
CAH_MDL2804_01001975; Wholesaler Safe Product Practices Assessment (Oct. 25, 2011),
CAH_MDL2804_00000170.
322
      MacDonald Supplemental Report 8.



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my opinion, those percentages are lower than the national average and do not create concerns
about diversion.

                  5.      Ross Westbank Pharmacy

Although not in Summit or Cuyahoga Counties, Rafalski devotes Schedule IV of his report to
Ross Westbank Pharmacy located in Minneapolis, Minnesota.323 Rafalski does not identify any
connection between this pharmacy and Summit or Cuyahoga Counties, and in my opinion, there
is not one. Based on my review of Rafalski’s Schedule IV, I can see this pharmacy did not order
large quantities of opioids and therefore there is no reason to suspect it is responsible for
diversion into Summit or Cuyahoga Counties.

          F.      Opinion: Data Sources Like ARCOS and Primary Sales Records Are More
                  Useful to DEA Diversion Investigators than Suspicious Order Reports

In my experience, DEA Diversion Investigators are trained to rely upon a variety of
informational sources when investigating whether a pharmacy is diverting controlled substances.
In general, investigative leads more often come from a concerned citizen or a cooperating
individual than from suspicious order reports made by registrants. Additional leads could be
referrals from other federal, state and local law enforcement or regulatory agencies. The
ARCOS database is also a potential source of leads, particularly as that system has advanced in
sophistication over time. When I began my career as a Diversion Investigator, our primary
output from ARCOS consisted of quarterly reports. Evidence in this case shows that in more
recent years, the ARCOS unit is capable of running customized analyses and generating leads
based upon the output to their search queries. For example, Kyle Wright testified that DEA used
ARCOS data to look for anomalies in the data and that, if DEA could not “resolve the anomaly,
then we’d send it out to the field for investigation.”324 Tom Prevoznik similarly testified that
DEA uses ARCOS data to generate leads for investigators.325

In my experience, suspicious order reporting plays a lesser role in generating investigative leads
as compared citizens’ complaints, cooperating witness information, or referrals from other
agencies. In my opinion, a trained Diversion Investigator would not act solely on a suspicious
order report, but instead would expound or attempt to verify the information by requesting sales
information from the distributor and other distributors in the area or conduct an inspection of the
pharmacy’s primary records, such as Form 222’s, controlled substances invoices, and controlled
substance prescriptions.

It is also my opinion, that the inadvertent failure to report four orders for pharmacies located in
Cuyahoga and Summit Counties (discussed above) cannot reasonably be expected to have
impacted the work of DEA Diversion Investigators. As noted above, those orders were not
shipped and therefore did not enter the marketplace. Suspicious order reports generally have a
323
      Rafalski Report 61 n.208 and Schedule IV.
324
      Kyle Wright Deposition Tr. 172:10-173:17.
325
      Tom Prevoznik Deposition Tr. 337:2-338:15, 498:4



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limited investigative value on their own, and typically do not lead to the opening of
investigations on their own. Such reports would most likely have been consulted only to the
extent that there was additional information supporting the initiation of an investigation into
those pharmacies, and in that event, there are other available law enforcement tools that would
have allowed a trained Diversion Investigator to obtain information necessary to evaluate the
pharmacies’ conduct.

          G.      Opinion: Plaintiffs’ Proposed Suspicious Order Criteria Are Unreasonable,
                  Not Required, and Would Not Have Met DEA’s Expectations

I have reviewed Plaintiffs’ proposed alternative methodologies for identifying suspicious orders
as described in the report of McCann and to a lesser extent, Rafalski.326 In my opinion, these
alternative methodologies are not appropriate for identifying suspicious orders for several
reasons. Just as important, even if these methodologies were appropriate, that would at most
make them an option that a registrant could have followed to identify suspicious orders, not ones
that they had to follow. Nothing in the CFR or DEA’s policies supports the proposition that the
failure to use one of the Plaintiffs’ specific methodologies means that a registrant has acted
unreasonably or that it has failed to maintain a valid system for detecting and reporting
suspicious orders. In my opinion, the methodologies actually used by Cardinal (discussed
previously) are superior to those identified by Plaintiffs’ witnesses in several ways.

To understand the flaws in Plaintiffs’ methodologies, it helps to understand the proper
expectations of an SOM program in the context of two goals held simultaneously by DEA:
preventing diversion and ensuring patients’ access to legitimately prescribed medications.
According to statistics published by the DEA, more than half of all misuse of prescription opioid
medication involves medication that was diverted after it was issued to the ultimate user (i.e., the
patient to whom it was prescribed). Opioids diverted in that manner have already left the closed
system of distribution, and are diverted when they are taken from homes, sold or given to friends
or relatives, or similar scenarios.327 Because medication diverted in that manner was dispensed
to patients before being diverted, it is by definition no longer the responsibility of (or even under
the control of) DEA registrants. A well-designed SOM program cannot possibly be expected to
identify or prevent that type of diversion even though it constitutes the majority of all diversion.
Instead, the realistic goal of any SOM program is to detect orders that may contribute to the
lesser share of diversion that occurs within the closed system of distribution.

DEA also seeks to discharge its responsibilities under the CSA in a manner that does not
interrupt access to prescription pharmaceuticals for patients with legitimate medical needs.
Prescription opioids are FDA approved medications that may be prescribed and dispensed



326
      McCann Report 56-76; Rafalski Report 40-46.
327
   DEA 2018 National Drug Threat Assessment at 7-8 (showing 53.1% of persons reporting misusing
prescription opioids were “given by, bought from, or took from a friend or relative.”). Additional
percentages reflect amounts purchased from drug dealers (6%), or stolen from health care providers
(0.7%). Id.



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consistent with applicable standards of medical care.328 At various times, DEA has published
statements reflecting these twin responsibilities. For example, on September 6, 2006, DEA
published in the Federal Register a notice titled, “Dispensing Controlled Substances for the
Treatment of Pain.”329 In the notice, DEA discussed the extent of the drug abuse of controlled
substances in the U.S. DEA cited the following information:

           One of the areas of concern is the number of persons who have recently begun
           abusing prescription controlled substances. In its NSDUH Report published in June
           2006, SAMHSA states: “In 2004, among persons aged 12 or older, 2.4 million
           initiated nonmedical use of prescription pain relievers within the past year. This is
           more than the estimated number of initiates for marijuana (2.1 million) or cocaine
           (1.0 million).” Overall, according to the NSDUH report: “An estimated 31.8
           million Americans have used pain relievers nonmedically in their lifetimes, up from
           29.6 million in 2002.”

           Another source of data presented by SAMHSA is that collected by the Drug Abuse
           Warning Network (DAWN), which provides national estimates of drug related
           visits to hospital emergency departments. According to DAWN, for 2004:

                  Nearly 1.3 million emergency department (ED) visits in 2004 were
                   associated with drug misuse/abuse.         Nonmedical use of
                   pharmaceuticals was involved in nearly half a million of these ED
                   visits.

                  Opiates/opioid analgesics (pain killers), such as hydrocodone,
                   oxycodone, and methadone, and benzodiazepines, such as
                   alprazolam and clonazepam, were present in more than 100,000 ED
                   visits associated with nonmedical use of pharmaceuticals in 2004.

           A measure of the problem among young people is the 2005 Monitoring the Future
           (MTF) survey conducted by the University of Michigan. The MTF survey is
           funded by the National Institute on Drug Abuse (NIDA), a component of the
           National Institutes of Health (NIH), and measures drug abuse among 8th, 10th, and
           12th graders. NIDA stated: “While the 2005 survey showed a continuing general
           decline in drug use, there are continued high rates of non-medical use of
           prescription medications, especially opioid pain killers. For example, in 2005, 9.5
           percent of 12th graders reported using Vicodin in the past year, and 5.5 percent of
           these students reported using OxyContin in the past year.” In announcing the latest


328
   It is beyond the scope of my assignment, and my expertise, to comment upon the range of therapeutic
uses for prescription opioids that are consistent with applicable medical standards. The point is simply
that these medications have legitimate medical uses, and DEA seeks not to interfere with those legitimate
medical uses.
329
      Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716 (Sept. 6, 2006).



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            MTF survey results, NIH Director Dr. Elias Zerhouni said that “the upward trend
            in prescription drug abuse is disturbing.”330

Despite registering DEA’s concern for prescription opioid abuse, the same statement went on to
say: “DEA recognizes that the overwhelming majority of American physicians who prescribe
controlled substances do so for legitimate medical purposes. In fact, the overwhelming majority
of physicians who prescribe controlled substances do so in a legitimate manner that will never
warrant scrutiny by Federal or State law enforcement officials. Contrary to the impression of
some commenters, DEA has not modified its criteria for investigating physicians or increased its
emphasis on physicians as part of the agency’s overall mission. In any given year, including
2005, fewer than one out of every 10,000 physicians in the United States (less than 0.01 percent)
lose their controlled substance registrations based on a DEA investigation of improper
prescribing. This figure alone should correct any mistaken notions about a supposed DEA
‘crackdown’ on physicians. Moreover, as mentioned above, the responsibility for monitoring
and preventing controlled substance abuse is shared by State and Federal governments. Even in
the rare cases where a physician loses his/her DEA registration for improper prescribing, it is
often State officials--not DEA--who initiate the investigations.”331

DEA also made the following statement in the November 16, 2004, Interim Policy Statement
published in the Federal Register: “[C]hronic pain is a serious problem for many Americans. It
is crucial that physicians who are engaged in legitimate pain treatment not be discouraged from
providing proper medication to patients as medically justified.”332 In the 2006 notice, DEA
states, “it is not DEA’s role to issue medical guidelines specifying patient characteristics that
warrant the selection of a particular opioid or other medication or regimen for the treatment of
pain.”333

Joe Rannazzisi similarly testified before Congress that “99.5 percent of the prescribers … are not
overprescribing.”334

Rannazzisi has also testified that although DEA has the ability to reduce the overall supply of
prescription opioids through its control of production quotas, it would not be appropriate for
DEA to exercise that authority to try and force a shortage of medication so as to prevent
downstream diversion and misuse:



330
      Id.
331
      Id. at 52,720.
332
      Dispensing of Controlled Substances for the Treatment of Pain, 69 Fed. Reg. 67,170 (Nov. 16, 2004).
333
      71 Fed. Reg. 52,716, at 52,718.
334
   Joe Rannazzisi Deposition Tr. 191:4-193:9; see also “Prescription Drug Diversion: Combating the
Scourge,” Hearing before the Subcommittee on Commerce, Manufacturing, and Trade (Mar. 1, 2012), at
94 (Rannazzisi testifying that “99 percent of the doctors are perfect”).



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          Quota is not a tool to stop diversion. Quota is a tool to limit the amount of drug
          available, you know, from a manufacturer, a distributor, but in the end, the reason
          Congress set it up that way and the reason it was explained to me was that if there
          is not enough quota to meet the legitimate medical, scientific and industrial needs
          of the country, legitimate patients could not -- would not be able to get their
          medicine.

          That is, if we have a quota and we decide to cut the quota by 20 percent, you still
          have the same amount of people kind of drawing from that quota. Well, if it’s 20
          percent less, patients might not get their medication. If it’s a drug seeker, you know,
          no one really cares, but if it’s a – if it’s a person who actually needs that opioid, a
          hospice care patient, a palliative care patient, somebody that indeed needs opioids
          for transition or whatever, you know, their final stages of life. If they can’t get that
          medication, they are in pain, then we haven’t met our obligations under 826.335

Consistent with these twin concerns, it is not a legitimate goal of a well-designed SOM program
to have distributors seek to change medical standards or deprive patients of prescribed
medications by creating artificial shortages. In addition to being outside the legitimate goals of
the DEA as a regulator, such an approach would be inconsistent with the regulatory definition of
a “suspicious order” as being an order of unusual size, frequency, or pattern. By definition, a
level of ordering that is consistent with prevailing medical standards is not “unusual” by these
criteria, and an SOM program cannot be expected to treat the vast majority of orders as
suspicious consistent with the definition in the CFR.

In my opinion, Plaintiffs’ proposed methods for identifying suspicious orders are incompatible
with the regulatory definition of suspicious orders, and reflect the misguided aim of making
distributors responsible for second-guessing legitimate medical need. As noted in Rafalski, these
methods would label between 40.4% and 96.6% of the dosage units ordered by Cardinal’s
customers as “suspicious.”336 These criteria are not reasonable. The purpose of the Suspicious
Order Reporting regulation is to require registrants to review “unusual” orders, not ordinary
orders. Methodologies that reflexively result in that high of a share of all orders being identified
as “unusual” would appear not to satisfy the regulation. In addition, these methods would dilute
the value of the information reported to DEA, making it harder to identify those orders that a
registrant truly regards as suspicious based on its knowledge of its customers.

Plaintiffs’ suggestion that there are a limited set of thresholds that a distributor can reasonably
use is misguided. DEA has expressly and repeatedly explained that there is no particular set of
criteria that must be used to flag potentially suspicious orders. For example, Rannazzisi testified

335
      Joe Rannazzisi Deposition Tr. 499:16-500:14.
336
   Rafalski Report 41-46. Under the “Maximum Monthly, Trailing 6 Month Threshold” methodology
that Rafalski endorses, 96.6% of oxycodone and 93.6% of hydrocodone dosage units that Cardinal
distributed in Cuyahoga County would be part of suspicious orders. Id. In Summit County, 92.7% of
oxycodone and 90.4% of hydrocodone dosage units that Cardinal Health distributed would be part of
suspicious orders. Id.



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that compliance with 1301.74(b) involves “a business decision based on what the registrant’s
needs are and the Drug Enforcement Administration does not tell a registrant what that specific
system should look like.”337 Wright testified that DEA understood that “not every company
would necessarily have the exact same type of program” and that “DEA wanted companies to be
able to adopt their particular programs to whatever the particular clients were that they might
service.”338 Prevoznik testified that “there’s more than one way to design and operate a system
that can identify and report suspicious orders” and that “there’s no single feature that makes a
suspicious order monitoring system compliant.”339 If Cardinal had reported more than 80% of its
orders as suspicious, it is highly probable DEA would have instructed it to stop doing so.
Further, DEA requires registrants to incorporate knowledge of their customers into any
assessment of what constitutes a “suspicious” order, and Plaintiffs’ proposed methods are
deliberately blind to variations in customer circumstances that may justify different order sizes,
frequency or patterns for differently situated customers. In contrast, the methods actually
adopted by Cardinal (which I have reviewed above), appropriately account for Cardinal’s
knowledge of its customers, and therefore are more compatible with the CFR and DEA policy
than the ones proposed by Plaintiffs.




337
      Joe Rannazzisi Deposition Tr. 315:17:316:12.
338
      Kyle Wright Deposition Tr. 128:14-129:1
339
      Tom Prevoznik Deposition Tr. 179:22-180:11.



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                                     Materials Considered

   I.     Pleadings

          Cuyahoga County’s Second Amended Corrected Complaint dated May 25, 2018

   II.    Defendants’ Expert Reports

          Expert report of John J. MacDonald dated May 10, 2019

          Supplemental Expert Report of John J. MacDonald dated May 31, 2019

          Expert report of Catherine Rahilly-Tierney M.D., M.P.H Expert Witness Report dated
             May 10, 2019

   III.   Plaintiffs’ Expert Reports

          Expert Report of Craig J. McCann dated March 25, 2019 including Appendices

          Expert Report of James E. Rafalski dated April 15, 2019 including Schedule IV

          Expert Report of Dr. Stephen W. Schondelmeyer dated April 14, 2019

          Expert Report of Dr. Seth Whitelaw dated April 15, 2019 including Appendices and
             citations

   IV.    Depositions

          a. Defendant Depositions

             Deposition of Eric Brantley dated November 27, 2018
             Deposition of Todd Cameron dated September 26, 2018
             Deposition of Raymond P. Carney dated October 16, 2018
             Deposition of Douglas Emma dated January 17, 2019
             Deposition of Christopher J. Forst dated January 22, 2019
             Deposition of Mark Hartman dated November 15, 2018
             Deposition of Kim Howenstein dated January 10, 2019
             Deposition of Shirlene Justus dated July 13, 2018
             Deposition of Donald Steven Morse dated December 13, 2018
             Deposition of Jennifer Norris dated August 7, 2018
             Deposition of Nicholas Rausch dated November 11, 2018
             Deposition of Steve Reardon dated November 30, 2018 including exhibits 39, 40,
                    41
             Deposition of Gilberto Quintero dated December 6, 2018
             Deposition of Kimberly S. Anna-Soisson dated January 24, 2019




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          b. DEA Depositions

             Deposition of June Howard dated April 25, 2019
             Deposition of Thomas Prevoznik dated April 17, 2019
             Deposition of Thomas Prevoznik dated April 18, 2019
             Deposition of Thomas Prevoznik dated May 17, 2019
             Deposition of Joseph Rannazzisi dated April 26, 2019
             Deposition of Joseph Rannazzisi dated May 15, 2019
             Deposition of Kyle Wright dated February 28, 2019
             Deposition of Kyle Wright dated March 4, 2019

   V.     Publicly Available Documents

          Congressional Testimony of Joseph Rannazzisi dated March 1, 2012
              (https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/03/
              01/12/03-01-12-dea-rannazzisi-testimony.pdf)
          Congressional Testimony of Michele Leonhart dated September 18, 2014
              (https://www.hsdl.org/?abstract&did=758373)
          Controlled Substances and List I Chemical Registration and Reregistration Fees, 76
              Fed. Reg. 39,318 dated July 6, 2011
          DEA Policy Statement - Dispensing Controlled Substances for the Treatment of Pain,
              71 Fed. Reg. 52,716 dated September 6, 2006
          DEA Press Release - Operation Synthetic Opioid Surge dated July 12, 2018
              (https://www.dea.gov/press-releases/2018/07/12/operation-synthetic-opioid-
              surge-new-program-announced-attorney-general)
          DEA Testimony of Paul E. Knierim on Trafficking of Illegal Fentanyl from China
              dated October 2, 2018 (https://www.dea.gov/sites/default/files/2018-
              10/DEA%20Testimony%20-International%20Drugs%20-
              %20Senate%20Drug%20Caucus_2Oct18_final.pdf)
          Dispensing of Controlled Substances for the Treatment of Pain, 69 Fed. Reg. 67,170
              dated November 16, 2004 (https://www.govinfo.gov/content/pkg/FR-2004-11-
              16/pdf/04-25469.pdf)
          Drug Enforcement Administration, Controlled Substances and Pain Management
              Article dated September 2001
              (https://web.archive.org/web/20011205021713/http://www.deadiversion.usdoj.go
              v/pubs/nwslttr/spec2001/page10.htm)
          Full Year 2008 Performance Budget – Congressional Budget Submission
              (https://www.justice.gov/archive/jmd/2008justification/pdf/35_dea.pdf)
          Full Year 2011 Performance Budget – Congressional Budget Submission
              (https://www.justice.gov/sites/default/files/jmd/legacy/2014/05/29/fy11-dea-
              justification.pdf)
          GAO Report – More DEA Information about Registrants’ Controlled Substances
              Roles Could Improve Their Understanding and Help Ensure Access dated June
              2015 (https://www.gao.gov/assets/680/671032.pdf)




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          GAO Report – DEA Has Enhanced Efforts to Combat Diversion, but Could Better
              Assess and Report Program Results dated August 2011
              (https://www.gao.gov/assets/520/511464.pdf)
          Joint Statement from 21 Health Organizations and the Drug Enforcement
              Administration dated 2001
              (https://www.deadiversion.usdoj.gov/pubs/advisories/painrelief.pdf)
          Joseph Rannazzisi answers to House Committee’s questions dated May 1, 2015
              (https://www.dea.gov/sites/default/files/pr/speeches-
              testimony/2014t/04072014t.pdf)
          Minutes of the July 7-8, 2008 Meeting of the Ohio State Board of Pharmacy
              (https://www.pharmacy.ohio.gov/Documents/Pubs/Minutes/2008/200807%20-
              %20Minutes%20(Jul%202008).pdf)
          News Release – Drug Enforcement Administration, 21 Health Groups Call for
              Balanced Policy on Prescription Pain Medications like OxyContin dated October
              23, 2001
              (https://www.deadiversion.usdoj.gov/pubs/advisories/newsrel_102301.pdf)
          2018 National Drug Threat Assessment (https://www.dea.gov/sites/default/files/2018-
              11/DIR-032-18%202018%20NDTA%20final%20low%20resolution.pdf)
          State of Ohio Board of Pharmacy Rules Update – Drug Distributors – Spring 2019
              (https://www.pharmacy.ohio.gov/Documents/LawsRules/RuleChanges/Year/2019
              /Rules%20Update%20-%20Drug%20Distributors%20-%20Spring%202019.pdf)

   VI.    Statutes and Regulations

          21 U.S. Code Chapter 13 (Controlled Substances Act)
          21 CFR Parts 1300-1308, 1316

   VII.   Production Documents

             ABDCMDL00315783
             CAH_MDL_PRIORPROD_AG_0001241
             CAH_MDL_PRIORPROD_AG_0001572
             CAH_MDL_PRIORPROD_AG_0001577
             CAH_MDL_PRIORPROD_AG_0001695
             CAH_MDL_PRIORPROD_AG_0004759
             CAH_MDL_PRIORPROD_AG_0004767
             CAH_MDL_PRIORPROD_AG_0004773
             CAH_MDL_PRIORPROD_AG_0004805
             CAH_MDL_PRIORPROD_AG_0005229
             CAH_MDL_PRIORPROD_AG_0005341
             CAH_MDL_PRIORPROD_AG_0005610
             CAH_MDL_PRIORPROD_AG_0005636
             CAH_MDL_PRIORPROD_AG_0029127
             CAH_MDL_PRIORPROD_AG_0029155
             CAH_MDL_PRIORPROD_AG_0029220
             CAH_MDL_PRIORPROD_AG_0029440



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             CAH_MDL_PRIORPROD_AG_0029468
             CAH_MDL_PRIORPROD_AG_0029620
             CAH_MDL_PRIORPROD_AG_0029729
             CAH_MDL_PRIORPROD_AG_0029738
             CAH_MDL_PRIORPROD_AG_0029938
             CAH_MDL_PRIORPROD_AG_0029945
             CAH_MDL_PRIORPROD_AG_0029952
             CAH_MDL_PRIORPROD_AG_0029955
             CAH_MDL_PRIORPROD_DEA07_00838645
             CAH_MDL_PRIORPROD_DEA07_00848351
             CAH_MDL_PRIORPROD_DEA07_00870163
             CAH_MDL_PRIORPROD_DEA07_00885842
             CAH_MDL_PRIORPROD_DEA07_00886767
             CAH_MDL_PRIORPROD_DEA07_00891019
             CAH_MDL_PRIORPROD_DEA07_00937856
             CAH_MDL_PRIORPROD_DEA07_00968292
             CAH_MDL_PRIORPROD_DEA07_00968292
             CAH_MDL_PRIORPROD_DEA07_01175050
             CAH_MDL_PRIORPROD_DEA07_01176248-R
             CAH_MDL_PRIORPROD_DEA07_01176914
             CAH_MDL_PRIORPROD_DEA07_01179513
             CAH_MDL_PRIORPROD_DEA07_01188147
             CAH_MDL_PRIORPROD_DEA07_01188323
             CAH_MDL_PRIORPROD_DEA07_01190057
             CAH_MDL_PRIORPROD_DEA07_01198345
             CAH_MDL_PRIORPROD_DEA07_01198690
             CAH_MDL_PRIORPROD_DEA07_01383895
             CAH_MDL_PRIORPROD_DEA07_01457031-R
             CAH_MDL_PRIORPROD_DEA07_01465435-R
             CAH_MDL_PRIORPROD_DEA07_01475709-R
             CAH_MDL_PRIORPROD_DEA07_01488350-R
             CAH_MDL_PRIORPROD_DEA07_01515965-R
             CAH_MDL_PRIORPROD_DEA07_01525200-R
             CAH_MDL_PRIORPROD_DEA07_01538085-R
             CAH_MDL_PRIORPROD_DEA07_01544958-R
             CAH_MDL_PRIORPROD_DEA07_01546013-R
             CAH_MDL_PRIORPROD_DEA07_01554009-R
             CAH_MDL_PRIORPROD_DEA07_01563313-R
             CAH_MDL_PRIORPROD_DEA07_01573797-R
             CAH_MDL_PRIORPROD_DEA07_01590839-R
             CAH_MDL_PRIORPROD_DEA07_01601686-R
             CAH_MDL_PRIORPROD_DEA07_01611135-R
             CAH_MDL_PRIORPROD_DEA07_01620843-R
             CAH_MDL_PRIORPROD_DEA07_01640601-R
             CAH_MDL_PRIORPROD_DEA07_01641502-R
             CAH_MDL_PRIORPROD_DEA07_01650463-R



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             CAH_MDL_PRIORPROD_DEA07_01660982-R
             CAH_MDL_PRIORPROD_DEA07_01676164-R
             CAH_MDL_PRIORPROD_DEA07_01685103-R
             CAH_MDL_PRIORPROD_DEA07_01696166-R
             CAH_MDL_PRIORPROD_DEA07_01698986-R
             CAH_MDL_PRIORPROD_DEA07_01713984-R
             CAH_MDL_PRIORPROD_DEA07_01723108-R
             CAH_MDL_PRIORPROD_DEA07_01732427-R
             CAH_MDL_PRIORPROD_DEA07_01747160-R
             CAH_MDL_PRIORPROD_DEA07_01788800-R
             CAH_MDL_PRIORPROD_DEA07_02075115
             CAH_MDL_PRIORPROD_DEA07_02075690
             CAH_MDL_PRIORPROD_DEA07_02078411
             CAH_MDL_PRIORPROD_DEA07_02088028
             CAH_MDL_PRIORPROD_DEA07_02093469
             CAH_MDL_PRIORPROD_DEA07_02723885
             CAH_MDL_PRIORPROD_DEA07_02739847
             CAH_MDL_PRIORPROD_DEA07_02769065-R
             CAH_MDL_PRIORPROD_DEA12_00000518
             CAH_MDL_PRIORPROD_DEA12_00000534
             CAH_MDL_PRIORPROD_DEA12_00000553
             CAH_MDL_PRIORPROD_DEA12_00000560
             CAH_MDL_PRIORPROD_DEA12_00000825
             CAH_MDL_PRIORPROD_DEA12_00000826
             CAH_MDL_PRIORPROD_DEA12_00001934
             CAH_MDL_PRIORPROD_DEA12_00001940
             CAH_MDL_PRIORPROD_DEA12_00001950
             CAH_MDL_PRIORPROD_DEA12_00002471
             CAH_MDL_PRIORPROD_DEA12_00007820
             CAH_MDL_PRIORPROD_DEA12_00010980
             CAH_MDL_PRIORPROD_DEA12_00014224
             CAH_MDL_PRIORPROD_DEA12_00014224
             CAH_MDL_PRIORPROD_DEA12_00014833
             CAH_MDL_PRIORPROD_HOUSE_0002197
             CAH_MDL_PRIORPROD_HOUSE_0002207
             CAH_MDL_PRIORPROD_HOUSE_0003331
             CAH_MDL_PRIORPROD_HOUSE_0004010
             CAH_MDL2804_00000013
             CAH_MDL2804_00000150
             CAH_MDL2804_00000153
             CAH_MDL2804_00000170
             CAH_MDL2804_00000204
             CAH_MDL2804_00000205
             CAH_MDL2804_00000206
             CAH_MDL2804_00000207
             CAH_MDL2804_00000209



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             CAH_MDL2804_00000211
             CAH_MDL2804_00000212
             CAH_MDL2804_00000214
             CAH_MDL2804_00000215
             CAH_MDL2804_00000216
             CAH_MDL2804_00000218
             CAH_MDL2804_00000605
             CAH_MDL2804_00000608
             CAH_MDL2804_00000609
             CAH_MDL2804_00000614
             CAH_MDL2804_00000616
             CAH_MDL2804_00000618
             CAH_MDL2804_00000619
             CAH_MDL2804_00000620
             CAH_MDL2804_00000687
             CAH_MDL2804_00000688
             CAH_MDL2804_00000689
             CAH_MDL2804_00000690
             CAH_MDL2804_00000692
             CAH_MDL2804_00000694
             CAH_MDL2804_00000695
             CAH_MDL2804_00000696
             CAH_MDL2804_00001518
             CAH_MDL2804_00001519
             CAH_MDL2804_00001521
             CAH_MDL2804_00001536
             CAH_MDL2804_00001537
             CAH_MDL2804_00001538
             CAH_MDL2804_00001539
             CAH_MDL2804_00001540
             CAH_MDL2804_00001561
             CAH_MDL2804_00001699
             CAH_MDL2804_00001851
             CAH_MDL2804_00093746
             CAH_MDL2804_00102597
             CAH_MDL2804_00124865
             CAH_MDL2804_00124895
             CAH_MDL2804_00124897
             CAH_MDL2804_00124903
             CAH_MDL2804_00124921
             CAH_MDL2804_00124924
             CAH_MDL2804_00135242
             CAH_MDL2804_00521497
             CAH_MDL2804_00540322
             CAH_MDL2804_00540323
             CAH_MDL2804_00540324



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             CAH_MDL2804_00618355
             CAH_MDL2804_00618705
             CAH_MDL2804_00690982
             CAH_MDL2804_00768525
             CAH_MDL2804_00803195
             CAH_MDL2804_00823568
             CAH_MDL2804_00826499
             CAH_MDL2804_00834231
             CAH_MDL2804_00884562
             CAH_MDL2804_01001972
             CAH_MDL2804_01001975
             CAH_MDL2804_01008818
             CAH_MDL2804_01305528
             CAH_MDL2804_01319576
             CAH_MDL2804_01320109
             CAH_MDL2804_01345344
             CAH_MDL2804_01458753
             CAH_MDL2804_01465723
             CAH_MDL2804_01483146
             CAH_MDL2804_01540111
             CAH_MDL2804_01574748
             CAH_MDL2804_01624303
             CAH_MDL2804_01695382
             CAH_MDL2804_01705161
             CAH_MDL2804_02059277
             CAH_MDL2804_02101802
             CAH_MDL2804_02101803
             CAH_MDL2804_02101808
             CAH_MDL2804_02101840
             CAH_MDL2804_02102038
             CAH_MDL2804_02102241
             CAH_MDL2804_02102246
             CAH_MDL2804_02102247
             CAH_MDL2804_02102254
             CAH_MDL2804_02102795
             CAH_MDL2804_02103920
             CAH_MDL2804_02156858
             CAH_MDL2804_02203346
             CAH_MDL2804_02203353
             CAH_MDL2804_02213664
             CAH_MDL2804_02395109
             CAH_MDL2804_02395115
             CAH_MDL2804_02456587
             CAH_MDL2804_02477455
             CAH_MDL2804_02486337
             CAH_MDL2804_02576927



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             CAH_MDL2804_02842789
             CAH_MDL2804_02973604
             CAH_MDL2804_02994277
             CAH_MDL2804_03063381
             CAH_MDL2804_03073827
             CAH_MDL2804_03082842
             CAH_MDL2804_03195089
             CAH_MDL2804_03267315
             CAH_MDL2804_03309960
             HDS_MDL_00002462
             HDS_MDL_00005372
             MCKMDL00660789
             US-DEA-00000352
             US-DEA-00005911
             US-DEA-00005914
             US-DEA-00005921
             US-DEA-00005928
             US-DEA-00005952
             US-DEA-00025683

   VIII. Discovery Responses

          Cardinal Health’s written responses to certain topics identified in Plaintiffs’ First and
          Second Notice of Deposition Pursuant to Rule 30(b)(6) dated October 18, 2018

          Cardinal Health’s written responses to certain topics identified in Plaintiffs’ Second
          Notice of Deposition Pursuant to Rule 30(b)(6) dated November 14, 2018

          Cardinal Health’s Supplemental Response to 30(b)(6) Testimony Topic (a) dated
          January 24, 2019

          Cardinal Health’s Third Supplemental Objections and Responses to Plaintiffs’ First
          Combined Discovery Requests dated March 4, 2019

          Cardinal Health’s written Revised and Supplemental Response to 30(b)(6) Testimony
          Topic (a) dated March 4, 2019

          Cardinal Health’s Second Supplemental Response to 30(b)(6) Testimony Topic 16
          Topic (a) dated March 4, 2019




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